Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 1 of 111 Page ID
                                 #:112380




  1              UNITED STATES DISTRICT COURT

  2              CENTRAL DISTRICT OF CALIFORNIA

  3                   ---

  4        HONORABLE STEPHEN G. LARSON, JUDGE PRESIDING

  5                   ---

  6   MATTEL, INC.,                  : PAGES 340 - 450

                        :

  7        PLAINTIFF,            :

                        :

  8     VS.                 : NO. ED CV04-09049-SGL

                        : [CONSOLIDATED WITH

  9   MGA ENTERTAINMENT, INC.,               : CV04-9059 & CV05-2727]

      ET AL.,                :

 10                     :

           DEFENDANTS.                :

 11

 12

 13

 14

 15             REPORTER'S TRANSCRIPT OF PROCEEDINGS

 16                RIVERSIDE, CALIFORNIA

 17               WEDNESDAY, MAY 28, 2008

 18                JURY TRIAL - DAY 3

 19                 MORNING SESSION

 20

 21

 22                   MARK SCHWEITZER, CSR, RPR, CRR

                      OFFICIAL COURT REPORTER

 23                   UNITED STATES DISTRICT COURT

                      181-H ROYBAL FEDERAL BUILDING

 24                   255 EAST TEMPLE STREET

                      LOS ANGELES, CALIFORNIA 90012

 25                   (213) 663-3494



                                                              Unsigned   Page 340
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 2 of 111 Page ID
                                 #:112381




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  2

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                                                    Unsigned            Page 341
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 3 of 111 Page ID
                                 #:112382




  1                      INDEX


  2


  3   IVY ROSS, PREVIOUSLY SWORN.............................. 352


  4   CROSS-EXAMINATION (CONTINUED) BY MR. NOLAN: ........... 352


  5   REDIRECT EXAMINATION BY MR. QUINN: ..................... 412


  6   LILY MARTINEZ, SWORN.................................... 420


  7   DIRECT EXAMINATION BY MR. QUINN: ....................... 421


  8


  9                    EXHIBITS


 10


 11   (Exhibit 16002 received.)............................... 360


 12   (Exhibit 16002-041 received.)........................... 362


 13   (Exhibit 48-2 received.)................................ 383


 14   (Exhibit 1291 received.)................................ 407


 15   (Exhibit 271-1A received.).............................. 420


 16   (Exhibits 257-2 through 257-9 received.)................ 432


 17   (Exhibits 258-2 through 258-9 received.)................ 432


 18   (Exhibits 259-2 through 259-8 received.)................ 433


 19   (Exhibits 260-2 through 260-6 received.)................ 434


 20   (Exhibits 263-1 through 263-9 received.)................ 446


 21


 22


 23


 24


 25



                                                                     Unsigned   Page 342
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 4 of 111 Page ID
                                 #:112383




  1        Riverside, California; Wednesday, May 28, 2008


  2                     9:47 A.M.


  3          WHEREUPON THE CASE HAVING BEEN CALLED AND


  4          APPEARANCES GIVEN, THE FOLLOWING PROCEEDINGS


  5          WERE HELD:


  6        (HEARING HELD OUTSIDE THE PRESENCE OF THE JURY.)


  7          THE COURT: Good morning. The Court will be


  8   issuing the statute of limitations order momentarily. It's


  9   someplace in E file land. So the Court has submitted that.


 10          The Court has also received the Nana Ashong. When


 11   will this witness be called?


 12          MR. QUINN: We expect to play that tomorrow, your


 13   Honor. There is one issue about that that we wanted to


 14   discuss with the Court.


 15          THE COURT: What's that?


 16          MR. QUINN: We, of course, have designated our


 17   portions of the transcript, the video that we propose to


 18   play, and the defendants have designated theirs. We have a


 19   disagreement about whether it should be played through all at


 20   once or whether we should play plaintiff's portions and then


 21   the defense should play defendants' portions.


 22          Your Honor, we think each side should play their


 23   own portions. Frankly, we think they have designated a lot


 24   of fluff that our stuff will get buried in, and if they are


 25   going to try the jurors' patience with the kind of stuff they



                                                                      Unsigned   Page 343
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 5 of 111 Page ID
                                 #:112384




  1   want to play, we would rather it's not associated with us.


  2   Of course, if there's an objection to any designation under


  3   the rule of completeness, that something designated really


  4   needs to be played with it to put it in context, just like an


  5   exam if we were doing a deposition reading in court, we're


  6   prepared to do that. But we don't think it should be played


  7   all at once. We think the jury should understand which party


  8   is offering which portion of the testimony.


  9         THE COURT: What is the color coding here? I


 10   assume there's a key someplace.


 11         MR. QUINN: That's beyond my job description, your


 12   Honor.


 13         MR. NOLAN: Your Honor, yellow is Mattel, and green


 14   is MGA.


 15         THE COURT: I'm sorry?


 16         MR. NOLAN: Yellow is Mattel, and green is MGA.


 17         THE COURT: And green is MGA.


 18         MR. NOLAN: We used those colors because I'm


 19   colorblind.


 20         THE COURT: What is orange?


 21         MR. QUINN: Those are Mattel's counters to


 22   counters.


 23         THE COURT: I probably shouldn't be relying on


 24   Mr. Nolan since he told everyone yesterday he was colorblind.


 25         MR. NOLAN: I couldn't see the orange. That's why



                                                                      Unsigned   Page 344
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 6 of 111 Page ID
                                 #:112385




  1   I wasn't misrepresenting when I said it was yellow and green.


  2   So I will have Mr. Roth handle this from now on.


  3           THE COURT: All right. Very good. If counsel


  4   could just submit to my clerk a key for this, I would


  5   appreciate that. And I'll just have that with me as I'm


  6   going through this. Very well. I'll take that issue up


  7   along with the other issues.


  8           Mr. Nolan, I trust you want all the fluff played at


  9   once?


 10           MR. NOLAN: Your Honor, first of all, the


 11   definition of fluff could be also irrelevant. No, no. I


 12   appreciate it. I just think that to have it done


 13   chronologically in terms of the way the deposition was


 14   conducted is frankly the better way, you know, to do it. And


 15   breaking it up, you know, I've done it both ways. I don't


 16   know what the Court's preference is in this regard, but it's


 17   more of just a processing issue for us as to whether or not


 18   we now need to separate.


 19           THE COURT: Generally, I have in the past, when


 20   I've used this, I've done it all at once. But I'll take a


 21   look at it with Mattel's objection in mind, but generally the


 22   practice I've used is to play it all at once.


 23           MR. NOLAN: That would be our preference, your


 24   Honor.


 25           MR. QUINN: In that event, if the Court does end up



                                                                      Unsigned   Page 345
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 7 of 111 Page ID
                                 #:112386




  1   coming out that way, we would request that the jurors be told


  2   that this includes everybody's designations so we're not


  3   tagged with pressing play for all of this fluff.


  4          THE COURT: That makes sense. I'll certainly


  5   indicate that what we have is the combined offering of both


  6   parties.


  7          Anything else?


  8          MR. QUINN: One other. This morning coming into


  9   court, Ms. Thomas, house counsel for Mattel, and Lily


 10   Martinez, were in an elevator with a juror. The three of


 11   them in the elevator. The juror said good morning.


 12   Ms. Thomas and Ms. Martinez said nothing. They are concerned


 13   that the juror will think that they are being unfriendly.


 14   Since it's early in the trial, I'm wondering if the Court


 15   could remind the jury that counsel and the parties will not


 16   be communicating.


 17          THE COURT: Very good.


 18          MR. NOLAN: Could I raise one issue, your Honor?


 19          THE COURT: Yes, Mr. Nolan.


 20          MR. NOLAN: Thank you. This is back to phasing


 21   and what's in and what's out. And I have to just say that I


 22   was -- I expressed surprise over an objection that was made


 23   and sustained during my opening statement, and I just wanted


 24   some guidance from the Court.


 25          I was making an argument with respect to the work



                                                                    Unsigned   Page 346
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 8 of 111 Page ID
                                 #:112387




  1   that Margaret Leahy did during the period of time of


  2   September 1st through October 19th to set up what Carter


  3   Bryant was doing on the sculpt while he was employed by


  4   Mattel and what he wasn't doing on the sculpt. And this is


  5   how my statement went: "So when she first saw the sculpt" --


  6   and I'm talking about Paula Garcia -- "I think it was


  7   sometime in December she looked at it and she cut back. And


  8   she said no, it's way too sexualized. The concept is too


  9   old."


 10           I'm going to take out -- and Paula will testify to


 11   that -- "I want to take out the va-va-voom in it. She


 12   narrows the waist a little bit, narrows the hips, cuts a


 13   little bit out of the thigh, doesn't make it as voluptuous.


 14   Paula is driving this. Paula wants a doll the girls are


 15   going to be attracted to."


 16           Mr. Quinn said that is not relevant. Then


 17   sustained. Move along, Counsel.


 18           What we were talking about at that period of time,


 19   your Honor, was solely the period when Carter is employed at


 20   Mattel with respect to the sculpt, and that's what I thought


 21   was kind of our bright line test, that at October 19th, when


 22   he stopped those discussions and don't go beyond that, but


 23   the changes to the hips, taking the va-va-va-voom out of the


 24   sculpt was all done during a critical period of time that


 25   they contend that Carter was working on the sculpt. So today



                                                                    Unsigned   Page 347
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 9 of 111 Page ID
                                 #:112388




  1   with Paula Garcia coming up, I wanted some guidance.


  2         THE COURT: I appreciate that. What I don't want


  3   you getting into is developments by MGA on the doll post


  4   departure.


  5         Mr. Quinn, I'll hear from you on this.


  6         MR. QUINN: What I was concerned we were getting


  7   into was -- we were going away from the question of who owns


  8   the drawings. The suggestion was getting out there that


  9   Bratz dolls had ultimately evolved from something different


 10   than the drawings.


 11         THE COURT: That's how I took it as well, but,


 12   Counsel, you're correct, if you are in that time zone and you


 13   are basically counterjuxtaposing basically what Carter was


 14   doing versus what MGA may have been doing at the time, I


 15   suppose that's proper.


 16         MR. NOLAN: That's correct.


 17         THE COURT: You use the October 19th date as the


 18   date of demarcation, I think you'll be pretty safe.


 19         MR. NOLAN: Thank you very much, your Honor, and I


 20   probably didn't set it up and be clear enough in my opening


 21   statement. So I won't ask to re-address the jury to explain


 22   that portion of the evidence.


 23         Your Honor, the other point, I'm loath to object if


 24   Mr. Quinn wants to put in evidence in this case that I, you


 25   know, for whatever reason, he has a purpose of doing it.



                                                                    Unsigned   Page 348
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 10 of 111 Page ID
                                  #:112389




  1           Yesterday, during the testimony of Ivy Ross, again,


  2    there were many instances where Ivy Ross was asked to testify


  3    concerning innovation at Mattel, you know, the success of


  4    Barbie, her responsibility with the Barbie line. We were


  5    talking about blue sky reports, everybody coming in with


  6    their ideas and designs and all of this innovative material.


  7           This seems to me to be really pushing the envelope.


  8    I don't think it's fair for me to have to be objecting if


  9    Mr. Quinn is pushing that envelope to an area where we had


  10   wanted that evidence in. I wanted to have an opportunity to


  11   develop it. It seems to me that counsel knows the bright


  12   line test that the courts have approved --


  13          THE COURT: Counsel, you can certainly rebut any


  14   evidence that Mr. Quinn offers.


  15          MR. NOLAN: I appreciate that, your Honor. And


  16   then the other comment about not talking to the jurors, I'm


  17   absolutely in agreement with that. I think that all counsel


  18   should be counseled as well to be careful about avoiding


  19   contact with jurors, for instance, riding up in the elevator,


  20   and I'm not in any way --


  21          THE COURT: It's a small courthouse. It's


  22   inevitable that we're going to have these types of


  23   situations. It sounds like Ms. Martinez did exactly what


  24   she's supposed to do, and that's ignore the juror.


  25          MR. NOLAN: Exactly. And that's what I understand,



                                                                       Unsigned   Page 349
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 11 of 111 Page ID
                                  #:112390




  1    too, that we should ignore the jurors.


  2          THE COURT: It's just too small a courthouse.


  3    These things are going to happen. They happen in every case.


  4          MR. QUINN: Your Honor, that last point about


  5    innovation, Mr. Nolan referred to a bright line here, and if


  6    there is a bright line, I've missed it. There is a line


  7    drawing exercise that I think we have to struggle with. The


  8    testimony that came out was that it's an innovative place


  9    that they have creative people and bring out thousands of new


  10   products every year. That was basically it.


  11         THE COURT: And if he wants to impeach that


  12   testimony, he can do so.


  13         MR. QUINN: But what I'm concerned about now is


  14   this then becomes reasons for, you know, getting into


  15   Barbie's loss of market share, the fact that Barbie was being


  16   beaten because in the marketplace it hadn't adapted to, you


  17   know, what children want to see today. And house on fire and


  18   the next thing we know we're going to be hearing about kill


  19   Bratz. That's my concern.


  20         THE COURT: I don't know what we're going to hear


  21   and what we're not. It is a moving target in a certain


  22   sense. And you basically define how far that goes. I don't


  23   think -- and I've said this numerous times. I don't believe


  24   Barbie is relevant to this at all. To the extent that you


  25   introduce evidence about Barbie and the Barbie line and about



                                                                      Unsigned   Page 350
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 12 of 111 Page ID
                                  #:112391




  1    what was going on and innovations, Mr. Nolan can respond to


  2    that.


  3            It's kind of in your hands at this point. You have


  4    the Court's initial ruling about motive and the Court's


  5    initial ruling about Barbie being irrelevant. But to the


  6    extent you push that out, Mr. Nolan can come in and fill it


  7    back in.


  8            If there's nothing further, I'm going to take a


  9    brief recess, and we'll start up with -- you still have


  10   further cross-examination?


  11           MR. NOLAN: Yes.


  12           THE COURT: Very well. Why don't we have the


  13   witness on the stand, then.


  14           Court is in recess.


  15           (Recess taken.)


  16           (WHEREUPON THE JURY ENTERS.)


  17           THE COURT: Good morning to you all. Good morning,


  18   members of the jury. I think I mentioned this last week, and


  19   I just wanted to mention it again, that it's a small


  20   courthouse out here. You're undoubtedly going to run into


  21   counsel or the parties. They have been strictly instructed


  22   by the Court not to say anything to any of you, even a good


  23   morning or a hello or anything of that sort.


  24           So I just want to make sure that they are not being


  25   rude or obnoxious, they are just following the Court's order.



                                                                     Unsigned   Page 351
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 13 of 111 Page ID
                                  #:112392




  1    It's just better that way that we don't have any risk of any


  2    kind of communication. They just don't want you to think


  3    they are being rude or ignoring you. They are following the


  4    Court's orders.


  5          Why don't we go ahead and pass out the notes, and


  6    we'll continue with the cross-examination.


  7          MR. NOLAN: I believe Mattel and MGA stipulated to


  8    a witness exclusion order.


  9          MR. QUINN: Yes.


  10         THE COURT: If there are any witnesses in the


  11   courtroom, they should step outside.


  12         All right, Counsel, you may again.


  13              IVY ROSS, PREVIOUSLY SWORN.


  14             CROSS-EXAMINATION (CONTINUED)


  15   BY MR. NOLAN:


  16   Q. Good morning, Ms. Ross.


  17   A. Good morning.


  18   Q. In looking over your resume last evening, I noticed that


  19   you had your own business designing toy cars for a museum; is


  20   that correct?


  21   A. That was not my -- I had my own business doing jewelry


  22   design, and as a separate event, I was invited to do a --


  23   participate in an exhibition years ago in which I submitted


  24   with my husband at the time some toy cars, yes.


  25   Q. Now, Mattel makes toy cars; correct?



                                                                      Unsigned   Page 352
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 14 of 111 Page ID
                                  #:112393




  1    A. Correct.


  2    Q. When you came to work at Mattel and signed your


  3    confidentiality agreement, did you assign your ideas and


  4    concepts to any of your jewelry or toy cars that you had


  5    designed?


  6    A. No, because they were done way before I had come to


  7    Mattel, and they were not, for example, when I say toy car,


  8    it was a museum gallery exhibition piece. They were hundreds


  9    of dollars.


  10   Q. Well, is the reason why in your opinion that Mattel


  11   doesn't own the ideas because you did them a long time ago or


  12   before you started your employment with Mattel?


  13   A. Before I started my employment with Mattel.


  14   Q. So that if Carter Bryant developed the idea and concept


  15   for Bratz before he was employed by Mattel on January 4th,


  16   1999, by signing his employment agreement at Mattel, he did


  17   not automatically transfer that idea and concept to Mattel;


  18   correct?


  19   A. Correct. I guess I would have to understand what


  20   started that concept really means, but if he created it prior


  21   to coming to Mattel, my understanding is that Mattel doesn't


  22   own it.


  23   Q. You still have a black notebook. I wanted to go to the


  24   floor plan we were talking about yesterday, this is


  25   Exhibit 193. And I believe --



                                                                       Unsigned   Page 353
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 15 of 111 Page ID
                                  #:112394




  1           Aaron, could I have this on the screen?


  2           And you're going to the larger version of it, which


  3    is fine.


  4    A. I can't read the smaller version.


  5    Q. Nor can I. I don't know if I can even read the large


  6    one. But here's my point. What is this document, if you


  7    know?


  8    A. What is this document? It is one of the many floor


  9    plans from the design center.


  10   Q. And who prepared it?


  11   A. Usually facilities prepares it.


  12   Q. Do you know if Mattel facilities prepared that version?


  13   A. I can only assume.


  14   Q. And what is the basis for your assumption?


  15   A. Because it looks like the floor plans that I used to


  16   review all the time, and that's what prepared the ones I


  17   would review.


  18   Q. Do you know what year that floor plan represents?


  19   A. No, I do not. It might be here. No, I don't see it.


  20   Oh, yes. It says '90- -- I can't read it. It's either


  21   '98 -- I can't read it. It has a date, Christy Smith, who I


  22   think was in facilities, and then it says revised '99 maybe.


  23   It's hard to read.


  24   Q. But without -- simply by looking at it, can you tell the


  25   jury whether or not the seat assignments that are indicated



                                                                      Unsigned   Page 354
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 16 of 111 Page ID
                                  #:112395




  1    on that floor chart was in fact accurate or is in fact


  2    accurate?


  3    A. At that particular time, I can't say at that particular


  4    time. I can't remember the exact -- things would say. So I


  5    can't say at that particular time, but I recognize it as one


  6    of the floor plans while I was there.


  7    Q. So would it be fair to say that you don't even know


  8    whether or not you actually saw this particular version of


  9    the floor plan while you were at Mattel?


  10   A. Whether I reviewed this piece of paper?


  11   Q. Yes.


  12   A. No, I cannot say whether I reviewed this piece of paper.


  13   I can say that the way this floor plan was laid out is one in


  14   which, when I worked there, is familiar to me.


  15   Q. So the import of your testimony with respect to this


  16   floor plan is that it generally displays how bull pens and


  17   work centers were set out in the design center; correct?


  18   A. Correct. And I recognize some of the names. I know


  19   that my office was where I said it is, and there are a few


  20   people who I know were where they were. But I'm not -- I


  21   haven't scrutinized every single name, nor could I read it.


  22   Q. Would it be possible, or is it reasonable for you to say


  23   that you knew exactly where any particular person was working


  24   within the design center at any time?


  25   A. No, that would be unreasonable.



                                                                       Unsigned   Page 355
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 17 of 111 Page ID
                                  #:112396




  1    Q. Do you know an individual by the name of Paula


  2    Treantafelles?


  3    A. I know her name. And I certainly know it affiliated


  4    with this trial. But no, I do not remember her from Mattel.


  5    Q. When you say regarding this trial, you know that Paula


  6    Treantafelles is now married and also referred to as Paula


  7    Garcia? Is that what you understand from this litigation?


  8    A. Yes, I heard you say it yesterday.


  9    Q. You're not employed right now; correct?


  10   A. I'm technically employed with the Disney Stores until


  11   May 27th. What's today's date?


  12   Q. May 28th?


  13   A. So as of yesterday.


  14   Q. I didn't know that. I wouldn't have asked it that way


  15   had I known.


  16         But here's my question. Are you also serving as a


  17   consultant for Mattel?


  18   A. No.


  19   Q. Have you been paid for your services at all in


  20   connection with preparing for this trial?


  21   A. No.


  22   Q. When you left Mattel, was it a voluntary withdrawal?


  23   A. I resigned.


  24   Q. Was your position -- yesterday you gave us a litany of


  25   the positions that you had at Mattel, including I believe you



                                                                     Unsigned   Page 356
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 18 of 111 Page ID
                                  #:112397




  1    were in charge of design and development for the Barbie


  2    brand; is that correct?


  3    A. Yes, when I left. That was my original title.


  4    Q. Correct. And then you were elevated to be in charge of


  5    product and development for all of the girls' division, as I


  6    understand that?


  7    A. Yes, I forget the exact title. It may have been called


  8    design development for the girls' division. I don't know the


  9    exact wording, but it was all the girls' brands.


  10   Q. Now, in that position, you were familiar with most of


  11   the brands that were being offered by Mattel in the girls'


  12   division. Is that true?


  13   A. Yeah, I should be. I don't remember them all five years


  14   later, but at the time, absolutely.


  15   Q. From your testimony yesterday, you said that Mattel had


  16   a number of products. What I wanted to focus on is in your


  17   time period, isn't it true that of all of the brands that


  18   were offered in the girls' division, Barbie was the largest


  19   in terms of revenues generated by any brand you were


  20   responsible for?


  21   A. The Barbie brand or the Barbie doll?


  22   Q. Barbie brand?


  23   A. Yeah, the Barbie brand was the largest revenue.


  24   Q. And you were in charge of the Barbie brand; correct?


  25   A. I was not in charge of the licensing. I was in charge



                                                                      Unsigned   Page 357
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 19 of 111 Page ID
                                  #:112398




  1    of the toys, and I was -- I worked on the direct to home


  2    videos, but it was a separate person that was in charge of


  3    the licensed products.


  4    Q. Part of -- can you explain for the jury what you mean


  5    when you say you were in charge of the development? What did


  6    that include?


  7    A. Not the manufacturing part, but getting things ready for


  8    manufacturing. So as I explained the other day, there's


  9    preliminary designers and visual designers. So visual


  10   designers would prepare the packages to go over to Asia, and


  11   I had some engineers that would find the most cost-effective


  12   ways to create the prototypes and work with the factories to


  13   develop. I was not in charge of the manufacturing.


  14   Q. Were you involved at all with marketing?


  15   A. No.


  16   Q. As part of your responsibility for the Barbie brand, did


  17   you feel that it was important for you to follow consumer


  18   research with respect to the Barbie brand?


  19   A. It was, as I said yesterday, it was not my number one


  20   priority. It was -- I attended research sessions, when I


  21   could, and would periodically read the documents, but there


  22   was a whole team of people that were responsible for taking


  23   the research into grading it and making decisions based on


  24   it.


  25   Q. And did those individuals report to you?



                                                                    Unsigned   Page 358
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 20 of 111 Page ID
                                  #:112399




  1    A. No, they did not.


  2    Q. Did you believe it was important, being in charge of the


  3    brand and the development -- I'm sorry, the product and the


  4    development, that you were aware of the consumer research or


  5    focus group research that was being reported back to Mattel?


  6    A. Yes, it was important that I be aware of it.


  7    Q. Just so that we understand a little bit of the corporate


  8    structure, if I could just ask you to look in the white


  9    notebook for a moment -- and I think you can put away the


  10   design drawing.


  11         May I ask you to turn to Exhibit 16002. The front


  12   page is entitled Girls/Barbie. And then if you turn inside,


  13   it talks about June -- Girls/Barbie, June 2001. As I recall


  14   from your testimony, you were still at Mattel in June of


  15   2001; correct?


  16   A. Yes.


  17   Q. Could you take a look at this and tell me whether or not


  18   you recall the structure of this document?


  19   A. The structure of the document? What do you mean?


  20   Q. Do you know what this document is?


  21   A. It appears to be an organization chart.


  22   Q. And it was customary at Mattel from time to time to


  23   issue organizational charts; correct?


  24   A. Correct.


  25   Q. And in June of 2001, you were responsible for the



                                                                     Unsigned   Page 359
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 21 of 111 Page ID
                                  #:112400




  1    Girls/Barbie brand; correct?


  2    A. At one point I was originally responsible for Barbie and


  3    then it expanded to all of girls' brands. It may say in my


  4    resume when this switch happened.


  5    Q. Can you take a look at this document and tell me whether


  6    or not you think you have any reason to believe that it was


  7    not an accurate description of the structure within the


  8    Girls/Barbie division as of June 2001?


  9    A. I don't remember the exact -- that this reflects that


  10   exact date. But at one point in time, this was the case.


  11         MR. NOLAN: We'd offer Exhibit No. 16002.


  12         MR. QUINN: No objection.


  13         THE COURT: It's admitted.


  14         (Exhibit 16002 received.)


  15         MR. NOLAN: 16002-01 through --


  16         MR. QUINN: Your Honor, she's only been shown the


  17   one page.


  18         THE COURT: Mr. Nolan, you've only presented the


  19   first two pages to the witness. You only have a foundation


  20   for those two pages.


  21   Q. BY MR. NOLAN: Then take a look at the document, and


  22   look at the other pages for a moment.


  23         THE COURT: How far do you want her to go, Counsel?


  24         MR. NOLAN: What I want to know is whether or not


  25   this is an accurate description of the organizational



                                                                     Unsigned   Page 360
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 22 of 111 Page ID
                                  #:112401




  1    structure.


  2           THE WITNESS: I can't remember. With all of


  3    these -- I can't remember that this was the exact structure.


  4    Q. BY MR. NOLAN: Let's turn to page 42, 042 of this


  5    exhibit, please. And I'd ask you to take a look at the names


  6    on that page.


  7           Are you familiar with an individual by the name of


  8    Cassidy Beal-Park?


  9    A. Yes, I am.


  10   Q. Who was Cassidy Park?


  11   A. She was one of the leaders under me.


  12   Q. And did Cassidy Park have people that reported to her?


  13   A. Yes.


  14   Q. And I'd ask you to take a look at this structure and ask


  15   you whether or not, since Cassidy Park reported to you, does


  16   this accurately reflect the structure of Cassidy Park's


  17   department in or about June of 2001?


  18   A. I cannot be sure that this marries exactly. The


  19   structure changed a number of times. This looks like one of


  20   the potential structures, but I cannot verify that it's


  21   exactly the structure at that point in time.


  22   Q. Can you turn to page 42. Do you see this document?


  23   A. Yes.


  24   Q. Now, in the top of this organization chart, what's the


  25   first name shown?



                                                                   Unsigned   Page 361
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 23 of 111 Page ID
                                  #:112402




  1    A. My name.


  2    Q. All right. As senior vice-president, product and visual


  3    design; correct?


  4    A. Correct.


  5    Q. Now, can you take a look at this page and tell me


  6    whether or not you remember this organizational chart and is


  7    it accurate with respect to the names of the people that were


  8    reporting to you?


  9    A. Yes. At one point in time, I can't verify the exact


  10   date, but this was my structure.


  11         MR. NOLAN: Your Honor, we'd offer 16002-041.


  12         MR. QUINN: No objection, your Honor.


  13         THE COURT: -041 is admitted.


  14         (Exhibit 16002-041 received.)


  15         MR. NOLAN: And also with respect to Cassidy Park,


  16   page 042, we'd offer that as well, your Honor.


  17         MR. QUINN: There's no foundation for that one,


  18   your Honor.


  19         THE COURT: Well, what we have in so far is 001,


  20   002, -041. You're objecting on foundation to -042, Counsel?


  21         MR. QUINN: Yes.


  22         THE COURT: Lay a further foundation for -042.


  23   Q. BY MR. NOLAN: Let's go back to Cassidy Park. She


  24   reported directly to you?


  25   A. Yes.



                                                                 Unsigned   Page 362
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 24 of 111 Page ID
                                  #:112403




  1    Q. Are you familiar with what her responsibilities were?


  2    A. Yes.


  3    Q. And did you in fact play a role in the structure of her


  4    department in terms of how it was organized?


  5    A. Yes, and it changed about 10 times in my tenure there.


  6    Q. Why so many changes?


  7    A. Because when we would get new people in, we would


  8    move -- every team only needed a certain amount of industrial


  9    designers to sample makers, and it depended on what projects


  10   they were working on. So we would move people around to


  11   balance the groups. So whereas Cassidy one year may have a


  12   certain amount of stamp designers to project designers to


  13   model makers, the next year that may change depending on what


  14   projects her team was working on.


  15   Q. Was there a loss turnover at Mattel?


  16   A. No, not in terms of loss. There was a lot of moving


  17   people around to best serve the business needs.


  18   Q. If you go on to page -042 and -044, -045, -046, this is


  19   more organizational charts for Cassidy Park. And I'd ask you


  20   to just take a look at them and ask you whether or not the


  21   names are accurate, whether or not you believe that the


  22   positions that are indicated in the organizational structure


  23   is accurately depicted. So, for instance, where there's an


  24   assignment or a title under Cassidy Park for vice-president


  25   product design, do you see that?



                                                                      Unsigned   Page 363
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 25 of 111 Page ID
                                  #:112404




  1    A. Yes.


  2    Q. And that was her title; correct?


  3    A. That was her title, yes.


  4    Q. And then underneath her, she had a director, product


  5    design; correct?


  6    A. At one point in time, Lindsay did report to her,


  7    correct.


  8    Q. Okay. And then there was a senior management product


  9    design; correct?


  10   A. That's the one I was just referring to. Lindsay.


  11   Q. And the director of product design, there was also a


  12   director of product design; correct?


  13   A. I'm sorry. I'm looking at page 44. What page are you


  14   on?


  15   Q. I'm on 42. I want to start it back to 42.


  16   A. Okay. So could you ask me the question again?


  17   Q. Of course. If you look at 42, you see under Cassidy


  18   Park her direct reports include a director of product design;


  19   correct?


  20         MR. QUINN: Your Honor, the document isn't admitted


  21   yet. He seems to be getting into the content.


  22         MR. NOLAN: I'm trying to lay a foundation.


  23         THE COURT: I understand. But not let's refer to


  24   any names, Counsel.


  25         MR. NOLAN: It's just the titles. I'm not



                                                                  Unsigned   Page 364
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 26 of 111 Page ID
                                  #:112405




  1    disclosing names. I assume that they deal with functions.


  2          THE COURT: Counsel, is there any dispute that


  3    these titles are correct?


  4          MR. QUINN: I actually don't know, your Honor.


  5          THE COURT: Fair enough.


  6          MR. QUINN: The witness would know.


  7          THE COURT: Fair enough. I'll sustain the


  8    objection. Let's lay a foundation for this general document


  9    without getting into the specifics. If you can't, you'll


  10   have to introduce it in some other capacity.


  11   Q. BY MR. NOLAN: In your capacity in 2001, was it the


  12   practice of Mattel, in the ordinary course of business, to


  13   maintain organizational charts?


  14   A. It was not my goal to maintain organizational charts.


  15   Q. I understand that. But is it your understanding that at


  16   Mattel on an ordinary basis, Mattel would prepare


  17   organizational structure documents with respect to the


  18   division that you were responsible for?


  19   A. They should update them from time to time. There were a


  20   lot of times where they were -- I would find mistakes and


  21   they wouldn't update it because we were moving people around.


  22   So it was their job to update them, but with everything else


  23   on their plate, there were oftentimes that they were not up


  24   to date, and I would find that when I needed one, and I'd


  25   make the change by hand.



                                                                     Unsigned   Page 365
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 27 of 111 Page ID
                                  #:112406




  1          So I cannot verify, nor do I remember that this was


  2    exactly the structure at the time.


  3    Q. My point was more basic than that. It was the practice


  4    at Mattel to have published organizational charts for


  5    divisions; yes?


  6    A. They kept the organizational charts, and my assistant


  7    had whatever we thought was the latest at her desk in a book.


  8    Q. And you would maintain those organizational charts when


  9    they became current. You would update your binder at your


  10   desk when they were issued as new ones?


  11   A. No. HR was responsible for maintaining the


  12   organizational charts. I was not responsible for maintaining


  13   them. When there would be a new hire, HR would redesign the


  14   chart, and then the next time that they would be issued,


  15   there was no regular issuing schedule. If I needed a chart,


  16   I would call them.


  17   Q. Did you have your assistant maintain an organizational


  18   chart at her desk?


  19   A. I'm sorry. When you say maintain, do you mean keep?


  20         THE COURT: I think counsel is asking did you keep


  21   the charts at your desk.


  22         MR. NOLAN: Yes.


  23         THE WITNESS: My assistant most of the time would


  24   have a set of the organizational charts.


  25   Q. BY MR. NOLAN: And those sets of organizational charts,



                                                                   Unsigned   Page 366
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 28 of 111 Page ID
                                  #:112407




  1    although the names would be different, generally it took the


  2    format of the document that's been marked as 16002 in front


  3    of you, yes?


  4    A. I can't be sure. I mean, we had so many people --


  5    you're talking about the layout when you say the format? I


  6    can't say that it always took the same format.


  7    Q. Whether or not it was the precise format, you maintained


  8    organizational charts and kept them with your assistant from


  9    time to time, yes?


  10   A. Correct.


  11   Q. And you relied on them in terms of maintaining your


  12   responsibilities in charge of the division?


  13   A. I don't know what you mean by I relied on them to


  14   maintain my responsibilities. I didn't have to go to my


  15   organizational chart. I mean, did I use them as reference


  16   when I needed to? Yes.


  17         MR. NOLAN: Your Honor, we'd offer 16002, the


  18   entire document.


  19         MR. QUINN: I still don't think the foundation has


  20   been laid, your Honor.


  21         THE COURT: Sustained.


  22   Q. BY MR. NOLAN: All right. Let's go to -041 for a moment


  23   and see whether or not this provision or page is accurate.


  24   This is the one that has your name on it. And now we're at


  25   -041. Do you have that?



                                                                    Unsigned   Page 367
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 29 of 111 Page ID
                                  #:112408




  1    A. Yes.


  2    Q. Okay. Your name is at the top.


  3    A. Yes.


  4    Q. I'd ask you to take a look at that page with those


  5    titles and those names and ask --


  6    A. We already looked at this, and what I had said was I


  7    can't verify that this was exactly the 2001 date, but these


  8    people did report to me at one point in time and had the


  9    titles that are listed here at one point in time.


  10          MR. NOLAN: Your Honor, we'd offer -041.


  11          MR. QUINN: I think that's been admitted, your


  12   Honor.


  13          THE COURT: It's already been admitted.


  14          MR. NOLAN: All right. Let me publish it, then.


  15          THE COURT: You may publish, yes.


  16   Q. BY MR. NOLAN: Now, could you just very briefly walk


  17   through and explain to the jury the various roles that the


  18   individuals who reported to you had within your division?


  19   A. So let's see, at the time, Cassidy was in charge of the


  20   Barbie doll design. So she had a number of teams underneath


  21   her that did various aspects of the Barbie doll design, but


  22   not collector.


  23          Joe Frank, again, I don't remember. It's very


  24   vague here and says V.P. of product design. At one point he


  25   had Barbie accessories. At another point he had girls



                                                                     Unsigned   Page 368
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 30 of 111 Page ID
                                  #:112409




  1    electronics. So I don't know at this point in time which --


  2    whether this was a time when he was just Barbie accessories


  3    or whether he was also our girls electronics.


  4          Kelly O'Hearn was always packaging.


  5          Matt Phelps was product development, as it says.


  6          Abby Belknap was head of sculpting.


  7          Ann Driskill, she was head of collector.


  8          Suzanne Mills-Winkler was large and small dolls.


  9          And Evelyn at this time was only Polly Pocket.


  10         Suzanne left, and she eventually became over large


  11   and small dolls. This was at the time when she was large and


  12   small dolls, and I think Evelyn was only Polly Pocket, but


  13   I'm not a hundred percent sure.


  14         Caroline Collins did Barbie fashions. Maria Redin


  15   had come from M.I.T. and was kind of my electronic geek. And


  16   Cynthia Simmons, she took care of processing bills. And so


  17   Ruthie Smith was my executive assistant up at top.


  18   Q. Thank you, you can set that aside. Have you ever heard


  19   the term G jobs?


  20   A. Excuse me?


  21   Q. G jobs. Have you ever heard that term?


  22   A. G jobs?


  23   Q. Yes.


  24   A. No, not to the best of my recollection.


  25   Q. Yesterday you were talking about how once or twice a



                                                                     Unsigned   Page 369
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 31 of 111 Page ID
                                  #:112410




  1    year you had what you called blue sky opportunities where you


  2    would invite your designers to bring in their ideas and put


  3    them on display; is that correct?


  4    A. No. Blue sky I referred to was a slot, an open slot.


  5    It would be called a blue sky slot where there were some


  6    products where we were given boundaries, like price point,


  7    and others were blue sky slots. And I talked separately


  8    about there were times once or twice a year where we would


  9    invite the designers to come up with new brand ideas.


  10   Q. Did you ever have an instance where you asked your


  11   designers to bring in their ideas for new dolls?


  12   A. How does that differ from what you just -- could you


  13   reword the question?


  14   Q. Sure. I just want to make clear that there were


  15   opportunities when you asked your designers to bring in


  16   within the design center their own ideas or concepts for


  17   dolls, yes?


  18   A. Yes.


  19   Q. And those ideas and concepts that were done by the


  20   designers, do you know whether or not those design concepts


  21   were always done within the office, or were some of them done


  22   at home?


  23   A. I can't be sure. I think when you're a designer for a


  24   company, you're anything 24 hours a day. So I know for


  25   myself, you can have an idea at home, and then you can bring



                                                                     Unsigned   Page 370
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 32 of 111 Page ID
                                  #:112411




  1    it to life at work. So I think it's seamless. It doesn't


  2    matter. I don't know where the idea gets generated, in which


  3    place, about it doesn't matter.


  4    Q. On those days that you had the new ideas and new


  5    concepts brought in by your designers and displayed, what


  6    happened to the ideas and concepts that were not accepted by


  7    Mattel?


  8    A. They get locked in the closet, or sometimes they get put


  9    on, I think we saw in the picture -- as I said, they get


  10   displayed on these L boards, and so the designers were very


  11   proud of them, even if they didn't get accepted, so they'd be


  12   out on their cabinets around their cubicles. So they were


  13   either locked up or out on display.


  14   Q. You were talking about displaying things in cubicles.


  15   Are you familiar with the term tear sheets?


  16   A. Yes.


  17   Q. Could you explain to the jury what a tear sheet is?


  18   A. A tear sheet is something you rip out of a bag.


  19   Q. Would that include ads within magazines?


  20   A. It could be anything.


  21   Q. It could be ads. Could it be fashions?


  22   A. It could be fashions, yes.


  23   Q. And while you were at Mattel, you knew that designers


  24   were taking sheets, tear sheets out of various magazines and


  25   posting them in their cubicle; is that correct?



                                                                   Unsigned   Page 371
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 33 of 111 Page ID
                                  #:112412




  1    A. Some weren't doing it at all. Sometimes when we would


  2    do concept boards, they might use a tear sheet. They might


  3    use a piece of fabric. So it was a possibility.


  4    Q. Now, these tear sheets or advertisements, as I


  5    understand it, were of ideas or concepts that were out in the


  6    public domain, yes? They weren't just ads of Mattel


  7    products?


  8    A. No, they weren't just ads of Mattel products. I don't


  9    know if they were out in the public domain or not.


  10   Q. What was the purpose of having tear sheets from various


  11   magazines posted within some cubicles, if you know?


  12   A. I can't speak for that individual designer's choice. So


  13   I don't know. I mean, I know when I choose for myself, for


  14   example, when I was redoing Barbie's -- thinking about


  15   redoing Barbie's body, you would rip out tear sheets of the


  16   way models look today so you were influenced by what a


  17   woman's body looks like. So I think it is a very personal


  18   thing why you choose to have something -- it's like having a


  19   picture of your child in front of you.


  20   Q. Do you recall that -- well, let me ask you, when you


  21   were redesigning Barbie, do you know whether you ever looked


  22   at the magazine Seventeen?


  23   A. I have no idea.


  24   Q. Are you familiar with the magazine Seventeen?


  25   A. Yes.



                                                                    Unsigned   Page 372
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 34 of 111 Page ID
                                  #:112413




  1    Q. How are you familiar with it?


  2    A. I used to get a subscription to it years and years ago.


  3    I don't think I've gotten a subscription to it in the last


  4    few years, but I can't be sure.


  5    Q. I assume that your subscription to the Seventeen


  6    magazine was after you were 17, or was it before 17? You


  7    said a number of years ago.


  8    A. All I'm saying -- all I know is in my most recent job,


  9    because of the nature -- I order magazines based on the


  10   nature of the role I have at the time. So in my most recent


  11   job, the last two years, Seventeen magazine was not one that


  12   I -- that was on my roster of 37 different magazines I might


  13   get.


  14   Q. During the period of time you were employed by Mattel,


  15   it's true you subscribed to Seventeen magazine, yes?


  16   A. No, I did not say that. I don't know if that is true or


  17   not.


  18   Q. Is it possible that you did?


  19   A. It's possible.


  20   Q. Do you know whether or not you ever saw Seventeen


  21   magazine in the design center being looked at by any of your


  22   other designers?


  23   A. I have no idea.


  24   Q. Do you know whether or not there was a prohibition for


  25   any of your designers to look at Seventeen magazine ads?



                                                                    Unsigned   Page 373
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 35 of 111 Page ID
                                  #:112414




  1    A. No, they were free to look at whatever magazines they


  2    chose.


  3    Q. Were your designers also encouraged to do competitive


  4    shopping?


  5    A. Yes.


  6    Q. And by competitive shopping, does that mean that you


  7    were encouraging your designers to go out and buy


  8    competitors' products that were out at retail?


  9    A. No, competitive shopping to me means encouraging them to


  10   go out and be aware of what the competition is. There's a


  11   lot of competition today, and it's not from toys. It's from


  12   entertainment properties. It's knowing -- to me, part of


  13   their job is to know all the different possibilities the


  14   girls have to choose from that occupy their share of mind.


  15   So it's not to have them buy things, although they may. It


  16   was more to have them be aware of what was in the


  17   marketplace.


  18   Q. Can you tell the jury when you were at Mattel, do you


  19   ever recall a competitor's dolls being in the design center?


  20   A. Yeah, I can recall -- I remember -- I can recall a few


  21   dolls.


  22   Q. Which ones?


  23   A. I think there was Simba. I remember seeing some dolls


  24   by a company called Simba.


  25   Q. Do you recall ever seeing the Bratz doll in the fashion



                                                                     Unsigned   Page 374
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 36 of 111 Page ID
                                  #:112415




  1    center?


  2    A. I was totally aware of it and saw it. I don't know if I


  3    ever saw it in the design center per se. It's very possible.


  4    Q. What do you mean per se?


  5    A. It's very possible. I can't remember the -- an exact


  6    instance where I saw it, but it's possible.


  7    Q. Why would it be possible? What would be the purpose of


  8    having a Bratz doll within the fashion design center?


  9    A. Again, it's up to that designer who chose to bring it


  10   in. I don't know. Probably because they thought it was


  11   interesting or it was -- I don't know the timing of it, of


  12   when they bought it. Just like I don't know why, you know,


  13   the Simba doll, these were things that they felt were


  14   important to be aware of competitively.


  15   Q. We talked a lot yesterday about Toon Teens and Lily


  16   Martinez.


  17            Did you ever ask Lily Martinez what her inspiration


  18   was for Toon Teens?


  19   A. No, it was obvious.


  20   Q. And what was obvious?


  21   A. They had come from the decals she did for the Barbie


  22   Cool Skating. When you saw how cool the decal was for the


  23   Barbie skating, there was discussion about those should be


  24   dolls.


  25   Q. I'll be more precise. When you saw the initial drawing



                                                                      Unsigned   Page 375
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 37 of 111 Page ID
                                  #:112416




  1    of Toon Teens in the form of the decal, did you ever ask Lily


  2    Martinez what her inspiration was for the decal?


  3    A. No.


  4           MR. QUINN: Your Honor, I was a little slow. The


  5    question as framed -- it's confusing and conflated, the decal


  6    and Toon Teens.


  7           THE COURT: Overruled.


  8    Q. BY MR. NOLAN: Just so that it's clear, before there was


  9    a Toon Teens, there was a drawing that Lily Martinez did.


  10   Yes?


  11   A. Yes.


  12   Q. And that appeared on a decal, yes?


  13   A. Yes.


  14   Q. That was used on a Barbie doll, yes?


  15   A. Yes.


  16   Q. That was offered for sale?


  17   A. Yes.


  18   Q. Consumers could buy it?


  19   A. Yes.


  20   Q. And you testified yesterday that those dolls that


  21   contained the decal Lily Martinez drew were sold at retail, I


  22   believe you said, like in around 1997, 1998; is that correct?


  23   A. I said it was very close to within two or three years


  24   from when I -- to the best of my recollection, in two or


  25   three years from when I started, which was either '96 or '97.



                                                                   Unsigned   Page 376
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 38 of 111 Page ID
                                  #:112417




  1    So that would bring it up to '99. So it could go as late as


  2    '99 or as late as '98.


  3    Q. So you're just not certain one way or the other?


  4    A. No, I'm not certain one way or the other.


  5    Q. You're familiar with an artist by the name of Steve


  6    Madden?


  7    A. No, I'm familiar with him as a shoe brand, not as an


  8    artist.


  9    Q. I was giving him maybe too much credit. Are you aware


  10   of a shoemaker by the name of Steve Madden?


  11   A. Yes, a brand of shoes called Steve Madden.


  12   Q. And how are you aware of Steve Madden? Do you recall


  13   when you first became aware of Steve Madden?


  14   A. No, I do not.


  15   Q. Do you ever recall seeing an ad for Steve Madden shoes?


  16   A. I just saw it the other day on your screen.


  17   Q. I appreciate that you were here in the opening


  18   statement. What I was just wondering, based on your many


  19   years in design and fashion, can you tell the jury whether or


  20   not you had ever seen an advertisement for Steve Madden


  21   shoes?


  22   A. I'm aware of the brand, and so I'm assuming that I must


  23   have seen an ad. But I'm aware of the brand.


  24   Q. So in other words, yesterday when you were here in


  25   opening statement and you saw the Steve Madden ad, you're not



                                                                     Unsigned   Page 377
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 39 of 111 Page ID
                                  #:112418




  1    testifying that that was the first time you ever saw a Steve


  2    Madden ad for shoe wear; correct?


  3    A. Correct.


  4    Q. Did you think it was inappropriate for fashion designers


  5    employed at Mattel to have competitor products within the


  6    fashion design center?


  7    A. No.


  8    Q. We talked yesterday about the name Bratz. And I just


  9    want to go back for a moment and clear that up. Mr. Quinn


  10   showed you a list. First of all, do you know an individual


  11   by the name of Steve Linker?


  12   A. Yes.


  13   Q. Could you tell the jury who Steve Linker was?


  14   A. He was an independent contractor. He was a graphic


  15   designer that we used on some projects.


  16   Q. Was Mr. Linker ever employed by Mattel?


  17   A. I can't remember for certain, but I don't think he was


  18   ever -- I don't think he was ever a full-time employee. I


  19   think he was always an independent contractor or maybe a


  20   part-time employee, but he never appeared on my org charts.


  21   Q. Did Mattel have its own internal graphic design center?


  22   A. Graphic design center? What do you mean?


  23   Q. Did you have graphic designers?


  24   A. We had some.


  25   Q. Steve Linker is an outside graphic artist; is that



                                                                      Unsigned   Page 378
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 40 of 111 Page ID
                                  #:112419




  1    correct?


  2    A. He's an outside studio, of which one of his services is


  3    illustration of graphic design. I don't know if he was


  4    trained as a graphic designer, if he was trained as an


  5    illustrator. We used him to do logos and graphic design, but


  6    often what one is isn't what one is necessarily doing. So I


  7    don't know exactly whether he was an illustrator or graphic


  8    designer.


  9    Q. What I was trying to drive at is whether or not Mattel


  10   had internally their own people that could do graphic logos.


  11   A. In packaging design, we had a few people who were


  12   trained as graphic designers who from time to time would do


  13   logos, but a lot of that work we jobbed out.


  14   Q. Why did you job it out?


  15   A. Because it's about efficiencies in terms of most of


  16   those people were handling large volumes of package design,


  17   and we used them as art directors to work with the -- bring


  18   all the different components of the package together. So we


  19   didn't necessarily generate all the graphic design


  20   internally. We used them as design managers.


  21   Q. Isn't it true that about 20 percent of ideas that are


  22   created by Mattel in fact are created by people outside of


  23   Mattel, vendors that give you ideas?


  24   A. Not vendors. I'd say inventors. We have about 20


  25   percent of Mattel, as well as many of the other toy companies



                                                                    Unsigned   Page 379
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 41 of 111 Page ID
                                  #:112420




  1    in the industry, it comes from outside inventors is what we


  2    call them which, you know, outside inventors, yes.


  3    Q. The document with respect to Bratz that you were shown


  4    yesterday by Mr. Linker was a list of names. Do you know


  5    whether or not it was Mr. Linker and his company that came up


  6    with that list of names?


  7    A. It appears that those were the ones submitted by him.


  8    We had many people contributing. It was all hands on deck.


  9    Because we were looking -- I know my internal people


  10   submitted names. Marketing people submitted names. That


  11   particular document appears to have come from his firm to us.


  12   That's what it appears to be.


  13   Q. This is Exhibit No. 314.


  14         It's in evidence, your Honor. May I just put this


  15   back up?


  16         THE COURT: You may.


  17   Q. BY MR. NOLAN: Do you recall this document being shown


  18   to you yesterday?


  19   A. Yes.


  20   Q. And I believe you testified that Liz Hogan worked for


  21   Steve Linker; is that correct?


  22   A. That was the best of my recollection. I know that Joni


  23   and Sue were packaging designers. Steve Linker -- I think


  24   that this work was Steve Linker, but I didn't testify to


  25   that. I testified that I recognized the document.



                                                                  Unsigned   Page 380
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 42 of 111 Page ID
                                  #:112421




  1    Q. Right. And you see in the front it says Joni and Sue,


  2    here are names in the tag lines from Steve and I. And it's


  3    signed by Liz.


  4           Do you see Brats there?


  5    A. Yes.


  6    Q. Is it your testimony that before an outside vendor,


  7    Steve Linker provided you the name Brats, B-R-A-T-S, that


  8    Mattel internally had already been talking about the use of


  9    the name Brats?


  10   A. Not necessarily.


  11   Q. Do you have any evidence that Carter Bryant was ever in


  12   a meeting where the discussion of Brats as a name was ever


  13   discussed?


  14   A. No, I have no evidence. Is it possible? Yes. But I


  15   have no evidence or recollection of him being at this


  16   particular meeting.


  17   Q. Do you have any evidence to suggest that Mr. Carter


  18   Bryant was part of the distribution list for these names


  19   coming in from Steve Linker?


  20   A. No, there would be no reason for him to be part of that


  21   distribution list to the best of my recollection.


  22   Q. Could I have 48-001 up on the screen. Do you see this?


  23   A. Yes.


  24   Q. Do you recognize this from yesterday?


  25   A. Yes.



                                                                     Unsigned   Page 381
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 43 of 111 Page ID
                                  #:112422




  1    Q. Can you describe for me the expression and attitude of


  2    this particular drawing? What's depicted here?


  3    A. She's got big eyes, big lips. It looks like she's


  4    either kind of showing off or balancing herself. She has a


  5    lot of pride and a lot of style.


  6    Q. Would you describe her as rebellious?


  7    A. I wouldn't use the word rebellious. I would use that


  8    she has attitude.


  9    Q. And what's the attitude that's depicted?


  10   A. It's probably her posture and her makeup.


  11   Q. And what is the attitude that's depicted by the posture,


  12   just focusing on posture for a moment?


  13   A. Confident, I'd say.


  14   Q. Do you know -- when did Lily Martinez do this drawing,


  15   do you know?


  16   A. No.


  17   Q. There's a date on here. Can we blow that up?


  18          You have this document in front of you, 48-001. Do


  19   you see the date on it?


  20   A. I can't read it.


  21   Q. It's poor resolution. You can't read that?


  22   A. That?


  23   Q. Right.


  24   A. I see a 12, a 10, and I can't read the last two numbers.


  25   Is that what you're saying as the date?



                                                                 Unsigned   Page 382
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 44 of 111 Page ID
                                  #:112423




  1    Q. I'm just asking you, this appears to be a date on the


  2    document.


  3    A. Yes. What I'm saying is it's smeared. It looks like


  4    12/10, and then it could be a zero. It could be a 9. I


  5    can't read -- it would be a 09 or a 99. It's hard to read.


  6    Q. You have a smaller version in front of you. Is it


  7    clearer to you --


  8    A. No, you can look at it. In fact, it's smaller, it's


  9    less clear.


  10   Q. Can I ask you to look at 48-002, the next in order? Do


  11   you recognize this drawing?


  12   A. Yes.


  13   Q. What is this document?


  14   A. It's another one of the drawings for Toon Teens.


  15          MR. NOLAN: I don't believe this one was offered.


  16          MR. QUINN: No objection.


  17          THE COURT: It's admitted and published.


  18          (Exhibit 48-2 received.)


  19   Q. BY MR. NOLAN: Now, looking at your version, do you see


  20   that date?


  21   A. It's worse on my version. You can't -- well, on the


  22   screen it looks like it's '99. It looks like it's -- you can


  23   see it better on the screen than I can on my copy. It looks


  24   like it's June or July something '99.


  25   Q. So do you know whether or not that date indicates that



                                                                      Unsigned   Page 383
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 45 of 111 Page ID
                                  #:112424




  1    Lily Martinez did the drawing in June of 1999?


  2    A. I have no idea if that's correct.


  3    Q. Did you require all of your artists at Mattel to date


  4    their drawings?


  5    A. It wasn't a requirement. It was suggested, I think.


  6    But it wasn't a requirement.


  7    Q. Can we go back to 0048 for just a moment. Dash 001,


  8    please. Yesterday you were talking about what I would


  9    describe as the articulation of the hands and the pose.


  10          Do you see that?


  11   A. Yes.


  12   Q. Is it your testimony before the jury that the


  13   articulation of the hands on Lily Martinez's drawing was


  14   unique in terms of the way it was posed?


  15   A. They remind me -- they remind me very much of the exact


  16   same position that she had on her decal roller blading. So


  17   they were unique to Lily's drawing style as they appeared


  18   earlier on the decal.


  19   Q. So you never -- before you saw the decal, is it your


  20   testimony to this jury that you had never seen drawings or


  21   sketches with similar hand poses?


  22   A. No, I didn't testify to that.


  23   Q. So you're not trying to suggest to this jury that the


  24   articulation of the hands or the pose of the hands was unique


  25   or creative to Lily Martinez?



                                                                    Unsigned   Page 384
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 46 of 111 Page ID
                                  #:112425




  1    A. I think that was a signature of her style when she drew


  2    people. I cannot be sure that I have never seen anything


  3    similar to that. But I found it strikingly unique.


  4    Certainly in the design center with all of the dolls being


  5    done, I never saw anyone do that particular pose.


  6    Q. What was your impression of Carter Bryant as a designer?


  7    A. I know that he was always -- he was always high on the


  8    list of great designers.


  9    Q. Within Mattel?


  10   A. Within Mattel. That's why we took him back, and he was


  11   very highly thought of.


  12   Q. While he was employed at Mattel, did anybody suggest to


  13   you in any way that he was dishonest?


  14   A. Absolutely not.


  15   Q. You interviewed Carter Bryant when he reapplied to


  16   Mattel; correct?


  17   A. I don't remember that for sure. I remember Cassidy did


  18   bring him into my office. I don't know whether it was when


  19   he was coming back in or whether we had already hired him,


  20   but I do remember talking to him at some point.


  21         MR. NOLAN: Your Honor, if I might just approach


  22   with a new document.


  23         THE COURT: You may.


  24   Q. BY MR. NOLAN: I have placed in front of you a document


  25   I marked as 15605. It's the -- I'm sorry. We just handed it



                                                                    Unsigned   Page 385
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 47 of 111 Page ID
                                  #:112426




  1    up to you?


  2    A. I didn't get it.


  3    Q. Oh, I apologize. This is a package of sketches. If


  4    you'd take a moment and just look through those, if you


  5    might.


  6    A. Okay.


  7    Q. Do you recognize 15605-001 as being a sketch of Jewel


  8    Barbie?


  9    A. I remember that we ended up with a doll called Jewel


  10   Barbie that looked similar to this. I don't remember whether


  11   this was the sketch that formed it or not.


  12   Q. Did you know that Carter Bryant was a free-lancer for


  13   Mattel in the early part of 1998?


  14   A. I don't remember that in particular, no.


  15   Q. You don't recall ever being told that when you were


  16   interviewing Mr. Bryant?


  17   A. No, I don't remember that.


  18   Q. I'd ask you to look at Exhibit -- within this package


  19   now, 15391-001.


  20            MR. QUINN: I'm sorry. 15391?


  21            MR. NOLAN: 15391-001. It's about halfway through.


  22   Q. Do you recall, when you were interviewing Carter Bryant,


  23   that he submitted to you a portfolio?


  24   A. No, I don't recall -- as I say, I don't recall whether I


  25   actually interviewed him prior to him being hired. I



                                                                     Unsigned   Page 386
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 48 of 111 Page ID
                                  #:112427




  1    remember Cassidy bringing him into my office and telling me


  2    how talented he was and that she wanted me to meet him. But


  3    I don't remember the circumstances, whether he was with a


  4    portfolio or without a portfolio.


  5    Q. Whether or not you remember seeing his portfolio at the


  6    time, by looking at these pictures now, does that refresh


  7    your recollection that you did see sketches, drawings


  8    submitted by Carter Bryant before you authorized his rehire


  9    by Mattel?


  10   A. No, it does not.


  11   Q. You can set that aside. Thank you.


  12          Do you know whether or not, before he was hired,


  13   Carter -- rehired at Mattel, whether or not Carter was asked


  14   to do a test project or drawing?


  15   A. No, I do not.


  16   Q. Just to wind this up, in your experience at Mattel, when


  17   a designer was interviewing at Mattel, would it be uncommon


  18   for that designer to bring a portfolio of their drawings or


  19   sketches?


  20   A. No, it would be common during the interview process to


  21   bring a portfolio.


  22   Q. And these would be pictures or drawings that they did on


  23   their own before they came to Mattel, yes?


  24   A. Not necessarily. It could represent things that were


  25   done in previous jobs that were already on the market,



                                                                     Unsigned   Page 387
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 49 of 111 Page ID
                                  #:112428




  1    because we're not supposed to be sharing anything that isn't


  2    on the market or proprietary. So often a portfolio could


  3    show jobs from past experience, or a portfolio could contain


  4    ideas that the candidate would have done on their own, and


  5    usually when they are going through the portfolio, they talk


  6    you through that and explain it.


  7    Q. Right. My point is that assume an applicant presents a


  8    portfolio to you of drawings that represent work that he had


  9    done before his employment at Mattel. The question is by


  10   signing the inventions agreement, did Mattel take possession


  11   and ownership of those drawings that were submitted as part


  12   of the interview process?


  13   A. The two things have nothing to do with each other.


  14   Q. Why not?


  15   A. In terms of the -- you're talking about the -- we would


  16   never own -- as I said earlier, we don't own, have the rights


  17   to product that was done prior to being employed by Mattel.


  18   Q. I'd like to have, and I believe this is in one of the


  19   books up in front of you, maybe the white book,


  20   Exhibit No. 1195. This is an HR document that we were


  21   referring to yesterday.


  22         Do you have that in front of you? It's 1195.


  23   A. 1195-RS?


  24   Q. Yes. I don't know what RS stands for, but 1195.


  25         Do you have that?



                                                                    Unsigned   Page 388
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 50 of 111 Page ID
                                  #:112429




  1    A. Yes.


  2    Q. And yesterday we were talking about the fact that when


  3    Carter Bryant left Mattel and gave notice on October -- I'm


  4    sorry. When Carter Bryant gave notice on October 4th, 19 --


  5    the year 2000, I'm sorry. October 4, 2000, you were


  6    disappointed to hear that he was leaving; correct?


  7    A. Correct.


  8    Q. At that point in time, you thought that Carter Bryant


  9    was a talented designer, yes?


  10   A. Absolutely. That's why I tried to convince him to stay.


  11   Q. Was there anything in his contract, Ms. Ross, that


  12   compelled him contractually to tell you where he was going to


  13   go to work?


  14   A. First of all, we don't have -- my understanding is we


  15   don't have contracts. You mean in his employment agreement?


  16   Q. In his employment agreement.


  17   A. I don't know the legalities around that. I don't know


  18   whether he has to tell us. I have no idea.


  19   Q. You had the option, when Carter Bryant gave you notice


  20   on October 4th, 2000, to exit him out of the building on that


  21   very day; correct?


  22   A. Correct.


  23   Q. In fact, that was a policy that was applied by Mattel


  24   often while you were employed at Mattel; correct?


  25   A. No, I wouldn't say often. That was only the policy that



                                                                  Unsigned   Page 389
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 51 of 111 Page ID
                                  #:112430




  1    was enforced if someone told us that they were going to a


  2    competitor. And I had no reason to believe, because I


  3    trusted Carter explicitly, I had no reason to believe


  4    otherwise that he was telling me the truth when he said he


  5    was not going to a competitor. And therefore, I allowed him


  6    to stay the two weeks.


  7    Q. Now, in your deposition in this case, you testified that


  8    during your period at Mattel, you recall --


  9           MR. QUINN: Your Honor, I object to summarizing.


  10          THE COURT: Sustained.


  11          MR. NOLAN: I apologize.


  12   Q. While you were at Mattel, was there a time when there


  13   were layoffs of designers within the Mattel design center?


  14   A. Yes, I can remember one.


  15   Q. Approximately how many designers were laid off at the


  16   time, do you recall?


  17          MR. QUINN: Objection. This is irrelevant, your


  18   Honor.


  19          THE COURT: Overruled.


  20          THE WITNESS: I don't remember. Maybe 15, 20 tops.


  21   I think.


  22   Q. BY MR. NOLAN: Now, prior -- how were the names selected


  23   for on employee to be laid off at Mattel in the design


  24   center, if you know?


  25   A. It depended on why the layoffs. Sometimes the layoffs



                                                                     Unsigned   Page 390
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 52 of 111 Page ID
                                  #:112431




  1    would happen because of a structure reorganization. And


  2    therefore, it was picked based on what jobs we needed for the


  3    new structure. Other times it was -- it could be a financial


  4    issue. So it was looking at people -- if it was a pure


  5    performance issue, it would be looking at peoples' ratings if


  6    it was a performance issue. And it was a restructuring, it


  7    would be finding the right matches of skill sets to the jobs,


  8    the structure that we were creating.


  9    Q. And was there a process in place where managers would be


  10   involved in identifying which employees would be subject to


  11   the layoff?


  12   A. There was some kind of a ranking that we did every year,


  13   and there was some process -- I don't remember exactly. I


  14   remember HR sitting with me to make sure that we were making


  15   the right decisions. So I remember seeing my office and


  16   there was paperwork and we were going through papers.


  17   Q. Were employees warned ahead of time that this process


  18   was going on in terms of considering layoffs?


  19   A. I can't remember.


  20   Q. Do you recall, when you were involved in deciding about


  21   the layoffs, whether or not you told any of the employees


  22   that they were on a proposed list for layoffs?


  23   A. I doubt that I told them. But I can't be sure. I have


  24   no idea one way or the other.


  25   Q. And isn't it true that the employees in the design



                                                                    Unsigned   Page 391
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 53 of 111 Page ID
                                  #:112432




  1    center, that when they were laid off, that they were exited


  2    out of the building that day?


  3    A. No, I'm not sure of that day. Could have been the next


  4    day. I know they went to HR. There was a conversation. I'm


  5    not sure whether it was that exact day or it was the


  6    following day. Sometimes they would come back and get their


  7    things the following day. I can't be sure.


  8    Q. As you are sitting here, are you denying that on the day


  9    a party -- a designer was laid off by Mattel, that they were


  10   physically escorted out of the building by HR?


  11   A. I don't remember that they were each personally escorted


  12   out. I remember some people were escorted out. I don't


  13   remember that necessarily everyone was escorted out.


  14   Q. Was Carter Bryant -- let me ask you this: Are you


  15   familiar with the term at-will employee?


  16   A. Yes.


  17   Q. And can you describe for me what you understand at will


  18   to mean?


  19         MR. QUINN: Your Honor, I think this is irrelevant.


  20         THE COURT: Counsel?


  21         MR. NOLAN: Your Honor, if I could just lay the


  22   foundation, I think it goes to the whole issue of


  23   Mr. Bryant's relationship at Mattel.


  24         THE COURT: I'll give you some leeway. Overruled.


  25         THE WITNESS: My understanding, and it may not be



                                                                      Unsigned   Page 392
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 54 of 111 Page ID
                                  #:112433




  1    correct, is that at will means there is no contract. At any


  2    point in time, you could resign or the company could fire


  3    you.


  4    Q. BY MR. NOLAN: Was Carter Bryant an at-will employee?


  5    A. As was everybody, yes.


  6    Q. Were you an at-will employee?


  7    A. Yes.


  8    Q. We talked yesterday about concept drawings like Lily


  9    Martinez, and concept drawing for Toon Teens.


  10          Do you recall that concept?


  11   A. Yes.


  12   Q. And your testimony was that those drawings were similar


  13   to floor plans for a house. I think that was the way you


  14   analogized it. Is that a correct way to describe it?


  15   A. I wasn't saying those drawings in particular. I was


  16   saying in general, when a designer does a drawing, it's the


  17   blueprint for the product to be built.


  18   Q. So at Mattel there were illustrators or designers that


  19   were involved in doing sketches; correct?


  20   A. Not everyone did sketches, but they could be doing


  21   sketches.


  22   Q. And in those sketches, they would have and be able to


  23   express their idea and concepts of their idea; correct?


  24   A. That was the purpose of the sketch, yes.


  25   Q. Then the sketch would be turned over to a sculptor; is



                                                                     Unsigned   Page 393
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 55 of 111 Page ID
                                  #:112434




  1    that correct?


  2    A. Most of the time. Depends on whether the sketch needed


  3    sculptor. If it was a soft body, it wouldn't necessarily


  4    need a sculptor. So if it would be appropriate, it would be


  5    turned over to a sculptor.


  6    Q. There was a group of sculptors at Mattel; correct?


  7    A. Correct.


  8    Q. The designers -- and we'll use Lily Martinez as an


  9    example -- would not be the sculptor of a design; correct?


  10   A. To the best of my knowledge, no.


  11   Q. So just to be clear, because I was inartful, the artist


  12   who came up with the concept and the idea, reduced that to


  13   drawing, would not be the person that sculpted the concept


  14   and idea; correct?


  15   A. To the best of my knowledge, none of our illustrators --


  16   designers did their own sculpting. There could be a few that


  17   I don't remember that had the gift of doing something rough.


  18   I do remember -- a rough in clay and then giving the drawing


  19   and the rough in clay to the sculptor.


  20   Q. Do you recall whether or not, at any time Carter Bryant


  21   was employed at Mattel, either the first time or the second


  22   time, that Carter Bryant was ever a sculptor for Mattel?


  23   A. I do not remember him ever being a sculptor, no.


  24   Q. In any discussion that you had upon which you formed the


  25   opinion that Carter Bryant was a -- was one of the great



                                                                     Unsigned   Page 394
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 56 of 111 Page ID
                                  #:112435




  1    designers at Mattel, did anybody tell you that Carter Bryant


  2    was also a sculptor?


  3    A. No, not that I remember.


  4    Q. Do you know an individual by the name of Margaret Leahy?


  5    A. Yes.


  6    Q. And who was Margaret Lahey?


  7    A. She was a sculptress at Mattel, and she actually worked


  8    for me again at the Disney Store most recently.


  9    Q. Focusing for a moment to the time that Margaret Leahy


  10   was a sculptress at Mattel, were you familiar with Margaret


  11   Leahy while she was employed at Mattel?


  12   A. I knew of her, yes.


  13   Q. Do you know whether or not she had a good reputation as


  14   a sculptress at Mattel?


  15   A. I remember her reputation being good.


  16   Q. Do you recall that -- do you recall a time came when


  17   Margaret Leahy decided that she wanted to do free-lance work?


  18   A. I remember her wanting to leave because there was


  19   something around her child. I don't remember it being to do


  20   free-lance work, but that makes sense. I remember it more


  21   around either she had adopted a child or had a child and


  22   wanted to spend more time with her.


  23   Q. Just to be clear, when a Mattel employee leaves Mattel


  24   and wants to free-lance, Mattel had a policy that they could


  25   not do work for Mattel for the first six months; correct?



                                                                   Unsigned   Page 395
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 57 of 111 Page ID
                                  #:112436




  1    A. Correct.


  2    Q. What was the purpose behind that policy, if you know?


  3    A. My understanding is that we didn't want people to feel


  4    like that was a true option to employment at Mattel. That


  5    they could -- because sometimes you can make more money being


  6    a contractor because you can charge by the piece versus a


  7    salary. So we wanted to discourage people from feeling like


  8    they could set up their own company and come back and get --


  9    make us your primary client again. Because if we're your


  10   primary client, you should be an employee of us.


  11         There were exceptions. If someone had a unique


  12   skill set that we couldn't find anywhere else in the market,


  13   I would go to HR or my team would go to HR and get approval


  14   to kind of break that rule.


  15   Q. You recall whether or not you asked for an exception for


  16   Margaret Leahy when she left Mattel?


  17   A. I don't remember whether I did. It's possible. Or


  18   whether I did or someone else did. Or if we worked with her


  19   within the six months. I don't remember.


  20   Q. But after leaving Mattel, do you have any evidence to


  21   suggest that it would be inappropriate for Margaret Leahy, as


  22   a sculptress, to do free-lance even for competitors of


  23   Mattel?


  24   A. No, after she left Mattel, you are free to work for


  25   anyone you choose.



                                                                      Unsigned   Page 396
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 58 of 111 Page ID
                                  #:112437




  1    Q. You indicated that you had hired Margaret Leahy at the


  2    Disney Store; is that correct?


  3    A. I didn't hire her. I said she worked for me. David


  4    Harrison, who worked for me, prior to me joining the Disney


  5    Store, had interviewed her, when I came on board, said do you


  6    know Margaret Leahy, I'm about to hire her. And I said yes.


  7    Q. Did he ask you whether or not he should go forward and


  8    hire her?


  9    A. Yes, he asked me my opinion of her.


  10   Q. What did you tell Mr. Harrison your opinion of Margaret


  11   Leahy?


  12   A. That she could be a difficult personality, but she was a


  13   great sculptress.


  14   Q. Is Margaret Leahy a friend of yours?


  15   A. I wouldn't consider her a friend. I know her.


  16   Q. Did you consider Margaret Leahy to be an honest person?


  17   A. Yeah, I have no reason to believe otherwise.


  18   Q. In fact, do you know that Margaret Leahy is married to a


  19   person who still works at Mattel?


  20   A. She brought that to my attention recently when he came


  21   to visit the Disney Store. I think he was in the sound


  22   studio or electronics. I hadn't remembered that until she


  23   introduced me.


  24   Q. The name Veronica Marlow has come up. Did you know a


  25   Veronica Marlow?



                                                                   Unsigned   Page 397
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 59 of 111 Page ID
                                  #:112438




  1    A. It doesn't -- not to my recollection. I don't remember


  2    Veronica Marlow.


  3    Q. But again, if Veronica Marlow left Mattel to become a


  4    free-lancer, you don't recall any prohibition on Veronica


  5    Marlow working for a competitor as a consultant?


  6    A. No, I don't know of any -- we did not preclude people


  7    from working for someone else after they left.


  8    Q. Do you ever recall participating in an interview with a


  9    woman by the name of Maureen Tkaak, T-K-A-A-K, at the Wall


  10   Street Journal?


  11   A. Yes, I do.


  12   Q. When was that interview?


  13   A. I don't know.


  14   Q. Do you recall that your interview was while -- I'm


  15   sorry. At that interview, were you accompanied by a


  16   representative of the P.R. department at Mattel?


  17   A. Yeah, I remember Julia Jensen sitting with me in my


  18   office.


  19   Q. What was the purpose of that interview, if you know?


  20   A. I remember it being around Flavas, the new doll line we


  21   were launching.


  22   Q. Could you describe for us very quickly what Flavas was


  23   all about? What was the brand?


  24   A. It was a group of different ethnicities of characters


  25   with very different body types and different movements and



                                                                    Unsigned   Page 398
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 60 of 111 Page ID
                                  #:112439




  1    articulation that were very urban looking.


  2    Q. And how many characters were in Flavas?


  3    A. I don't remember.


  4    Q. Do you know whether or not Flavas came out before Bratz


  5    or after Bratz?


  6    A. I remember it came out after Bratz because it was toward


  7    the end of my time.


  8    Q. Were you heavily involved in the introduction of Flavas?


  9    A. I wouldn't say heavily involved, no.


  10   Q. Were you involved?


  11   A. I was involved.


  12   Q. Was Flavas a success?


  13   A. Not to my recollection.


  14   Q. Is Flavas still being sold?


  15   A. No.


  16   Q. During the interview with the reporter at The Wall


  17   Street Journal, did you mention to that reporter anything


  18   with respect to Bratz?


  19   A. Not to the best of my recollection.


  20   Q. Do you recall whether or not you said that you believed


  21   that Bratz had been copied from Lily Martinez's doll?


  22   A. No, I do not.


  23   Q. And just to be clear about Toon Teens, Toon Teens was


  24   never made into a doll offered at retail; correct?


  25   A. Correct.



                                                                   Unsigned   Page 399
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 61 of 111 Page ID
                                  #:112440




  1    Q. Another interview that you participated in was for a


  2    book. I just want to get that for just a moment. Do you


  3    remember being interviewed in connection with a book that was


  4    published called The Real Toy Story?


  5    A. No, I do not.


  6    Q. Do you ever remember being interviewed by a gentleman


  7    named Eric Clark?


  8    A. No, I do not.


  9    Q. Have you ever read the book The Real Toy Story?


  10   A. No, I do not recognize it.


  11   Q. In front of you, Ms. Ross, marked as 06300.


  12   A. In the white book?


  13   Q. In the white book.


  14         Now, I don't want you to read anything out loud,


  15   but I just wanted to ask you whether or not you have ever


  16   read chapter 4 that is depicted in this exhibit.


  17   A. No, I have not.


  18   Q. Okay. Directing your attention to page 78 for just a


  19   moment. I want you to just read to yourself the last


  20   paragraph. Starting with "In the meantime."


  21   A. Okay.


  22   Q. Now reading that, does that refresh your recollection


  23   that you did sit for an interview with a gentleman by the


  24   name of Eric Clark?


  25   A. No, it does not.



                                                                   Unsigned   Page 400
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 62 of 111 Page ID
                                  #:112441




  1    Q. Do you know whether or not you were ever described as


  2    the mastermind and the major innovation for the Millennium


  3    Barbie?


  4    A. No, I never heard that until reading it in this right


  5    now.


  6    Q. I ask you to turn to page 87, and directing your


  7    attention to the paragraph that starts "Mattel's intelligence


  8    machine." And I just ask you to take a look at that for a


  9    moment.


  10   A. Okay.


  11   Q. Okay. What I want to -- do you remember telling anybody


  12   that Mattel's intelligence machine had been picking up signs


  13   that older girls were losing interest in Barbie?


  14   A. No, intelligence machine isn't even a word I used.


  15   Q. Mattel did have research departments within the girls'


  16   division, yes?


  17   A. Yes.


  18   Q. And you received reports from those research


  19   departments?


  20   A. Yes.


  21   Q. Did you ever, while you were at Mattel, hear the phrase


  22   or the acronym KGOY, Girls Getting Older Younger?


  23   A. Not the acronym, but this was a fact. There was nothing


  24   to hide. Girls were getting older younger. And that's why


  25   we started to do dolls for older girls. As I said yesterday,



                                                                       Unsigned   Page 401
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 63 of 111 Page ID
                                  #:112442




  1    as Barbie started to trade down younger, because girls were


  2    getting older younger, that's why we started brands like


  3    Generation Girl, Mystery Squad, et cetera, because we knew


  4    that we were losing the older girl, and we had to continue to


  5    create new aspects of Barbie that would speak specifically to


  6    her.


  7           So I don't know the acronym, but it was common


  8    knowledge that girls were getting older younger and that the


  9    older girls were playing with many different kinds of things,


  10   including electronics. So it was hard to grab their


  11   attention.


  12   Q. Would you turn to page 88 of chapter 4 of this book and


  13   look at the paragraph there. And in particular, if you could


  14   focus on the last paragraph where there are quotations


  15   attributed to you.


  16          MR. QUINN: I object to the characterization.


  17          THE COURT: Just refer to the last paragraph.


  18   Sustained.


  19   Q. BY MR. NOLAN: Just read the last paragraph of this


  20   page, starting with "sipping tea."


  21   A. Okay.


  22   Q. Do you see that there is a quote attributed to you on


  23   this page?


  24          MR. QUINN: Your Honor, same objection.


  25          THE COURT: Counsel, lay a foundation for that.



                                                                   Unsigned   Page 402
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 64 of 111 Page ID
                                  #:112443




  1          THE WITNESS: Yes, I see it.


  2    Q. BY MR. NOLAN: If you did not meet with Eric Clark, the


  3    author of The Real Toy Story, do you know why a chapter


  4    contains words that are attributed to you in a quote?


  5          MR. QUINN: This is argumentative.


  6          THE WITNESS: I never said I --


  7          THE COURT: Stop, everybody. I sustained the


  8    objection. The answer is stricken, Counsel. Lay a


  9    foundation for this properly.


  10   Q. BY MR. NOLAN: Did you ever tell anyone that when you


  11   first came to Barbie, people would design in a vacuum, and


  12   they kind of come out when it was done and present their idea


  13   of a doll, and they would cover their designs at night. They


  14   were very possessive.


  15         Do you recall ever saying that to anyone?


  16   A. I don't recall ever saying it to them, but it was true,


  17   and the gist of it was true. I helped change the culture


  18   because it was -- people did used to work more by themselves,


  19   and I created a culture that was more collaborative. So I


  20   don't remember ever saying those exact words, but it's


  21   possible because it was true.


  22   Q. How long after arriving at Mattel did you -- did it take


  23   for you to change the culture of Mattel into a more


  24   cooperative environment?


  25   A. I don't remember exactly, but it was very quick. I was



                                                                     Unsigned   Page 403
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 65 of 111 Page ID
                                  #:112444




  1    the boss, and it was, you know, you don't -- we don't need to


  2    cover our work at night. Let's put it on the table and share


  3    it. So it was pretty instantaneous.


  4            THE COURT: Counsel, we're going to take our


  5    morning recess at this time.


  6            (WHEREUPON THE JURY WITHDRAWS.)


  7            THE COURT: Counsel, please be seated. I've


  8    communicated with Judge Infante during this morning's


  9    proceedings concerning the discovery motions that are still


  10   pending, and I received word, admittedly third hand from his


  11   assistant to my assistant to me, that he indicated that he


  12   has not ruled or intended to rule on the outstanding


  13   discovery motions because they were not on the priority list


  14   that the parties had submitted to him.


  15           They were instructed to do a joint letter to Judge


  16   Infante, one in February and one in April, listing the


  17   motions which were to be ruled on before Phase 1 of the


  18   trial, and these motions were not on that list.


  19           I don't know if that's true or not. I've asked to


  20   receive a copy of these lists that are referred to, and I'll


  21   take a look at it, but I suspect the parties may know what's


  22   being referred to here. And I'd like to hear on this a


  23   little later.


  24           I don't want to put you on the spot right now, but


  25   perhaps at noontime, when we take our recess then, we can



                                                                      Unsigned   Page 404
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 66 of 111 Page ID
                                  #:112445




  1    take this up. Because I don't want to -- if the parties have


  2    agreed with Judge Infante that these motions don't need to be


  3    ruled on, that kind of conflicts with what I understand from


  4    our discussion a few days ago. But I'd like to get that


  5    straightened out before I issue any further guidance in terms


  6    of these motions. So I just wanted to relay that to you, and


  7    I'll do some more homework myself. Let's take a 15-minute


  8    recess, and we'll resume at quarter till.


  9          (Recess taken.)


  10         (WHEREUPON THE JURY ENTERS.)


  11         THE COURT: Mr. Nolan, you may proceed.


  12   Q. BY MR. NOLAN: Ms. Ross, by the time you left Barbie


  13   toward the end of 2003, it's true that Barbie had lost


  14   significant market share to Bratz; correct?


  15   A. I don't know if I'd use the word significant. It


  16   definitely lost some market share to Bratz.


  17   Q. Was it a concern within Mattel?


  18   A. It was something we were all aware of, like we were


  19   aware of the competing issues, fighting for market share. So


  20   we were concerned, yes.


  21   Q. Did you know a gentleman by the name of Tim Kilpin?


  22   A. Yes.


  23   Q. Who is Tim Kilpin?


  24   A. He came toward the end when I was leaving. I forget his


  25   exact title. Maybe senior vice-president of marketing.



                                                                      Unsigned   Page 405
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 67 of 111 Page ID
                                  #:112446




  1    Q. Did you have any interaction with Mr. Kilpin regarding


  2    the Barbie brand?


  3    A. A little bit. There was a small time we overlapped. So


  4    a little bit. He was in a different department than I, but


  5    there was some interaction.


  6    Q. Did Mr. Kilpin ever tell you that he thought the Barbie


  7    brand was a brand in crisis?


  8    A. I don't remember him ever saying that to me.


  9    Q. Do you ever remember Mr. Kilpin describing Mattel as a


  10   house on fire?


  11   A. Absolutely not.


  12   Q. Did Mr. Kilpin ever tell you that he thought that Mattel


  13   had been out thought and out executed?


  14         MR. QUINN: Your Honor, I object. This is


  15   irrelevant to this case.


  16         THE COURT: Overruled. You may answer.


  17   Q. BY MR. NOLAN: Did Mr. Kilpin ever tell you that Mattel


  18   had been out thought and out executed by Bratz?


  19   A. No, I do not remember him ever telling me that.


  20   Q. The last document I'd like to show you, if you would


  21   turn to 1291.


  22         Do you recognize this document?


  23   A. Yes, I do.


  24   Q. What is it?


  25   A. It was an invitation for other people in the company to



                                                                     Unsigned   Page 406
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 68 of 111 Page ID
                                  #:112447




  1    join a brainstorm that we were having.


  2    Q. Is this a memo that you prepared?


  3    A. Yes, it is.


  4    Q. Was it issued around April 7th of 2003?


  5    A. It says that in the document. So I have no reason to


  6    believe it's wrong.


  7          MR. NOLAN: Your Honor, we'd offer 1291.


  8          MR. QUINN: No objection.


  9          THE COURT: Admitted.


  10         (Exhibit 1291 received.)


  11         MR. NOLAN: Can we publish it?


  12         THE COURT: You may.


  13   Q. BY MR. NOLAN: I want to have you focus on the first


  14   paragraph for a moment. It says: "We envision creating a


  15   cultural movement via a new doll for girls age seven to ten.


  16   Some of you have already seen the beginning of this brand,


  17   whose name will be kept confidential. We will be launching


  18   this brand at the pretoy fair in June. We want to create a


  19   cultural phenomenon that expands beyond the doll itself. New


  20   directions. Ancillary products. Cultural extension dollars.


  21   A movement that extends the product's potential, especially


  22   to trade, retail, and consumers and internally to our


  23   organization. The time is ripe to work differently at


  24   Mattel. To think differently at and more holistically, work


  25   more collaboratively and change the culture inside and out."



                                                                     Unsigned   Page 407
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 69 of 111 Page ID
                                  #:112448




  1          Did you write that paragraph?


  2    A. Yes, I did.


  3    Q. So it's true that by April of 2003, you were thinking


  4    that it was a ripe time for Mattel to work differently;


  5    correct?


  6    A. This was before -- what this was referring to was not


  7    the design department. This was a new way to work. This


  8    invitation was to the marketing department. Traditionally at


  9    Mattel, design would do their job in isolation, and I had


  10   already created a more collaborative environment within


  11   design, and we would not think of all of the extensions to


  12   the product line until after design had finished designing


  13   the doll. And then we would -- what I call baton passing.


  14   Hand off the product to market, and they would do their job.


  15         The call to action here that I was referring to


  16   about working differently was specifically around the process


  17   where I was inviting the marketing people to be part of this


  18   initial meeting at the inception of the doll. So that is


  19   specifically what this is referring to, which would be a new


  20   way to work.


  21   Q. Up until this time, Mattel was not organized that way;


  22   correct?


  23   A. Up until this time, as I just explained to you, design


  24   would do their job, hand it off to marketing, who would do


  25   their job, and then there would be dialogue back and forth.



                                                                    Unsigned   Page 408
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 70 of 111 Page ID
                                  #:112449




  1    But it was a different sequence of how we would arrive at the


  2    product line and the product launch.


  3    Q. And when you say to think differently and more


  4    holistically, what did you mean, "holistically"?


  5    A. Think of all the product extensions from the very


  6    beginning. Think of the entire picture from the very


  7    beginning as opposed to thinking of it in a linear way.


  8    Q. And why did you think that the culture had changed


  9    inside and out?


  10   A. In order to be quick to market and to have -- at the


  11   time we were thinking that this line was going to have


  12   implications on the website and all of these different


  13   components that we had never entered into before. So it was


  14   going to be the only way to actually make this happen.


  15   Because of the unique idea that this was.


  16   Q. Isn't it true that at or about this time and throughout


  17   2003, the retailers that were selling Barbie had lost


  18   confidence in Barbie?


  19         MR. QUINN: This is irrelevant.


  20         THE COURT: Sustained as phrased.


  21   Q. BY MR. NOLAN: Were you ever told in 2003 that people


  22   within Mattel were reporting that retailers had lost


  23   confidence in Barbie?


  24         MR. QUINN: Objection. Relevance.


  25         THE COURT: Counsel, let me see you at sidebar.



                                                                    Unsigned   Page 409
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 71 of 111 Page ID
                                  #:112450




  1          (SIDEBAR CONFERENCE HELD.)


  2          THE COURT: Counsel, what is the relevance of


  3    retailers' confidence in Barbie in 2003 to what Carter Bryant


  4    did in 1999?


  5          MR. NOLAN: Your Honor, it goes directly to impeach


  6    her testimony that Mr. Quinn elicited about the innovation at


  7    Mattel, how creative people were, how collaborative the


  8    department was, and how --


  9          THE COURT: Again, that was -- the relevant period


  10   is 1999 through October of 2000. How is 2003 relevant?


  11         MR. NOLAN: Your Honor, I believe that Mr. Quinn


  12   did not limit it in any time. He was talking about while she


  13   was employed at Mattel.


  14         THE COURT: I will give you leave to focus on the


  15   period in question, Counsel. That's what Mr. Quinn was


  16   doing, and that's what we need to do.


  17         MR. NOLAN: Thank you.


  18         THE COURT: Sustained on that basis.


  19         (CONCLUSION OF SIDEBAR CONFERENCE.)


  20   Q. BY MR. NOLAN: Your last project at Mattel, before you


  21   left, was for Project Platypus; is that correct?


  22   A. No, Project Platypus was an ongoing project


  23   simultaneously with all of my other duties. So it wasn't my


  24   last duty. It was a simultaneously running project.


  25   Q. And why did you leave Mattel?



                                                                      Unsigned   Page 410
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 72 of 111 Page ID
                                  #:112451




  1    A. Because that project -- I'm someone that needs to keep


  2    moving forward, and this particular project was one that


  3    we -- was a think tank, and I was really getting frustrated


  4    with retailers, you know, where you're not able to control


  5    when you're a wholesaler because the retailer then selects


  6    what they show. And I really wanted to be more in control


  7    and work for someone that had their own retail environment.


  8           Because what was happening in Project Platypus was


  9    it was very hard in this day and age, without controlling


  10   your own retail, to have a greater impact.


  11          So I felt I couldn't get to the next level, and


  12   Project Platypus was not going to be able to grow because it


  13   was a think tank. It wasn't -- which I totally, totally


  14   understood. So I left on very, very good terms and said you


  15   know what? It's time for me to move on, and I really would


  16   like to work for someone that did both wholesale and retail,


  17   which is why I went to Old Navy.


  18   Q. Did you ask anybody at Mattel just to reassign your


  19   duties within Mattel to give you a job that you were not


  20   going to be frustrated?


  21   A. I wasn't frustrated. Mattel is a wholesaler. What I


  22   said is I wanted to take things to the next level and be in


  23   charge of the retail as well. Because we couldn't control


  24   our own destiny because we don't have our own retail stores.


  25          So it wasn't frustration. It was a by-product of



                                                                     Unsigned   Page 411
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 73 of 111 Page ID
                                  #:112452




  1    Mattel as a wholesaler, and not a retailer. I loved working


  2    for Mattel. If there was that possibility, if we owned our


  3    own retail stores, I would love to be in charge of that.


  4    Q. Did you ask for a reassignment at Mattel to take on new


  5    responsibilities before you left?


  6    A. No, I had no reason to.


  7          MR. NOLAN: Thank you.


  8          THE COURT: Redirect?


  9          MR. QUINN: Thank you, your Honor.


  10                 REDIRECT EXAMINATION


  11   BY MR. QUINN:


  12   Q. Ms. Ross, Mr. Nolan asked you some questions and just


  13   showed you Exhibit 1291. And he asked you some questions


  14   about the importance of collaboration and things like that as


  15   reflected in that document, which is dated in 2003.


  16         Did you just realize that collaboration was


  17   important in 2003?


  18   A. No, as I stated earlier, from the moment I walked in the


  19   door, I created a different culture where collaboration was


  20   imperative. This document was referring to collaboration


  21   with all of these other ancillary departments in the company


  22   at an earlier stage in the game based on the complexity of


  23   this unique idea that required that we work differently.


  24   Q. This document referred to collaboration between folks in


  25   the design center and folks in other departments?



                                                                     Unsigned   Page 412
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 74 of 111 Page ID
                                  #:112453




  1    A. Absolutely. In other buildings even, which had never


  2    happened before at this early stage. So it was entirely


  3    different tasks. It was a unique situation relating to this


  4    particular idea which required all of these other components


  5    to come together in the beginning.


  6          So that is why that memo was written, because I was


  7    inviting other people from around the company that had never


  8    worked in my department before.


  9    Q. But collaboration among designers within the design


  10   center was --


  11   A. Oh, huge. That started within a week from when I walked


  12   in the door.


  13   Q. You were asked questions by Mr. Nolan about girls


  14   getting older younger. Can you explain what that means?


  15   A. Yeah. That's been a phenomena that's been going on for,


  16   I don't know, the last 10 years. I watched my own daughter.


  17   It happened to my own daughter. Girls are wearing makeup


  18   earlier. They are starting to grow up too quick in my mind.


  19   So it was a phenomena that we were all watching happen. And


  20   with that comes, you know, new things that girls can do, like


  21   electronic games, the computers, doing sports.


  22         So they were growing out of traditional toys at an


  23   earlier age, where they used to stay in them much longer. So


  24   it was a slow phenomena that we had kept our eyes on. I was


  25   aware of it even before I went to Mattel, but it was clearly



                                                                      Unsigned   Page 413
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 75 of 111 Page ID
                                  #:112454




  1    something to be monitored.


  2    Q. So that's something you are aware of before you joined


  3    Mattel in, I think you said, '95, '96?


  4    A. Yes. Again, I was aware of -- I watched my own daughter


  5    and watched the phenomena with her friends. And then I think


  6    it was -- yeah, we constantly, once we were inside Mattel,


  7    because it was a toy business, we were very aware of it.


  8    Q. And you were asked some questions also about the


  9    sculptors, the role of a sculptor and the importance of


  10   drawings to a sculptor.


  11         Do you recall that?


  12   A. Yes.


  13   Q. And based on your experience, what is your understanding


  14   of the importance of drawings for a sculptor?


  15   A. My understanding is that most sculptors, there may be a


  16   few exceptions, but that most sculptors or sculptresses start


  17   with a drawing to begin to create -- something, a guideline


  18   to execute against.


  19   Q. You mean a guideline --


  20   A. Or a blueprint. I mean, they have to -- there may be


  21   some sculptors that are doing a project not for someone else.


  22   When you're doing it for someone else, you need to see that


  23   person's intent. So you absolutely need a drawing in front


  24   of you in order to create that creation.


  25         There may be some sculptors that can do it who are



                                                                    Unsigned   Page 414
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 76 of 111 Page ID
                                  #:112455




  1    designing for themselves, but in our business and the way we


  2    work is the designer would bring the sculptor or sculptress a


  3    drawing, and that's what the sculptor would follow.


  4    Q. Do you know whether Margaret Leahy shares that


  5    understanding of a sculptor's role in the use of drawings?


  6          MR. NOLAN: Objection. Lack of foundation, your


  7    Honor.


  8          THE COURT: Sustained.


  9    Q. BY MR. QUINN: Have you ever discussed or heard


  10   Ms. Leahy present her understanding of what she does as a


  11   sculptor and how she uses drawings?


  12   A. Yeah, ironically very recently because she's been


  13   working for me at the Disney Store. And what happened is the


  14   Walt Disney Company is taking back the stores. The Walt


  15   Disney Company has just recently taken back the Disney Stores


  16   North America which, for the last two years, has been owned


  17   by the Children's Place. So because of that, I was asked to


  18   give to the Walt Disney Company, have my team share with them


  19   exactly what each of these people that I brought on the last


  20   two years, what their jobs were and how they did the jobs


  21   that they do.


  22         So I think it was about a month ago, five weeks ago


  23   maybe, each of my teams prepared a presentation to the Walt


  24   Disney executives as to how they do their job. And I had


  25   Margaret, who is a sculptress who does it by hand, and Tom, I



                                                                    Unsigned   Page 415
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 77 of 111 Page ID
                                  #:112456




  1    forget his last name, who does sculpting on computer. And


  2    when it came time for the demonstration, everyone knew that


  3    their jobs were on the line in terms of the Walt Disney


  4    people were going to make a determination of who they kept


  5    and who they did not keep.


  6          Margaret's demonstration was fantastic, and she


  7    showed how she starts with a drawing and then goes to the


  8    sculpting, and then she hands it off to Tom, who does the


  9    digital sculpting and can size it up or down. So it became


  10   clear that that's how she expressed to me and to the Disney


  11   team that she likes to work.


  12   Q. You were asked some questions about at-will employment


  13   and whether employees, including yourself, have contracts.


  14   And I think you were clear that you are not a lawyer.


  15   A. Right.


  16   Q. Count your blessings. The concept of at-will


  17   employment, if somebody is an at-will employee, that they


  18   have an inventions agreement, are they still bound by the


  19   inventions agreement?


  20   A. Absolutely. There's an employee agreement. And


  21   anything that you sign is agreed upon during your time of


  22   employment, absolutely you have to abide by it.


  23   Q. You mentioned that outside inventors supply about 20


  24   percent of the ideas for new toys?


  25   A. Approximately 20 percent. I'm not sure if the figure is



                                                                    Unsigned   Page 416
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 78 of 111 Page ID
                                  #:112457




  1    20 percent of the revenue or 20 percent of the actual


  2    products. It may be of the dollar or revenue. I'm not sure.


  3    Q. Who are these outside inventors? Are they people who


  4    are employed by competitive companies who are submitting


  5    products --


  6    A. No, most of them are inventor houses. Some are


  7    companies that all they do are create inventions that they


  8    then license to other companies like ourselves. They work on


  9    a royalty basis. There may be some individuals that also are


  10   inventors. But they are employed either by themselves or


  11   their own company, and they live the life of an inventor.


  12   They may come up with 15 ideas and be able to sell three of


  13   them to companies, and they collect a royalty. And that's


  14   how they make their livelihood.


  15   Q. You were asked some questions about Exhibit 314 from


  16   Mr. Linker's firm with the Bratz name, and you mentioned that


  17   Mr. Linker's firm was an outside vendor.


  18   A. Correct.


  19   Q. Can you tell us whether or not outside vendors such as


  20   Mr. Linker's firm would do that kind of work, whatever they


  21   were doing coming up with names or whatever, pursuant to a


  22   confidentiality and proprietary information agreement with


  23   Mattel?


  24   A. Oh, yes, all of our work orders to outside contractors


  25   have a part of it. I'm not sure whether it's the actual work



                                                                      Unsigned   Page 417
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 79 of 111 Page ID
                                  #:112458




  1    order or a separate document that describes all the rules and


  2    regulations about how the work they do for us is proprietary,


  3    et cetera, and belongs to us.


  4    Q. So would you regard those name ideas that were submitted


  5    by the vendor, in this case Mr. Linker's firm, as being


  6    confidential and proprietary to Mattel for that purpose?


  7    A. Yeah, absolutely, because we contracted him to do that


  8    work. He -- that was contracted work.


  9    Q. Why would in the design center -- why would there might


  10   be instances where you have examples of competitors' product,


  11   like you mentioned the Simba dolls. Why would they be there?


  12   A. Well, we have to make sure we are offering the right


  13   price value. So we would look at -- the marketing people


  14   would say we want to create a doll that has the same


  15   perceived price value. So even size of the box. In the toy


  16   industry, it's how big is the box. So sometimes we would


  17   have things there to make sure that when we did something in


  18   that category, that we were at least competitive with their


  19   price value.


  20   Q. Would they be there to be copied?


  21   A. No, absolutely not.


  22   Q. You were also asked some questions about tear sheets


  23   from magazines and other things that designers might bring in


  24   and hang in their cubicles. Do you have an understanding as


  25   to why designers might post ads and things like that?



                                                                     Unsigned   Page 418
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 80 of 111 Page ID
                                  #:112459




  1    A. Yeah, it's pure inspiration, like an artist or a fashion


  2    designer. I'm inspired by architecture. So I have pictures


  3    of houses. As an artist and a creator, there's amazingly --


  4    a different range, and it's very personal as to what inspires


  5    you. So it's inspiration. Shape, color, things in the world


  6    that you are excited about. It's a very personal thing.


  7    There's no rule about what job that does other than inspire


  8    you.


  9    Q. You indicated that if an employee, as a part of this


  10   blue sky effort, came up with a doll idea, and the company


  11   did not go forward with it, that it would be kept at the


  12   company or locked up, I think you said.


  13   A. Correct.


  14   Q. Can you explain why that is?


  15   A. Well, because it was the property of the company. I


  16   mean, we oftentimes pull back out something that we remember


  17   even from two years ago and take parts of it and make it into


  18   something else. So it was the property of the company, and


  19   we wanted it to be accessible because at times we would


  20   revisit it or revamp it.


  21   Q. There are some questions about the date when the Cool


  22   Skating Barbie came out.


  23   A. Yeah, I remember it was early on in my tenure, but I


  24   didn't remember the date.


  25   Q. And as luck would have it, we have a Cool Skating Barbie



                                                                     Unsigned   Page 419
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 81 of 111 Page ID
                                  #:112460




  1    which, your Honor, I request be marked as Exhibit 257-1A.


  2    The photocopy of this is already admitted as 257-1.


  3          THE COURT: Any objection?


  4          MR. NOLAN: No objection.


  5          THE COURT: Very well. It will be admitted and you


  6    pay publish.


  7          (Exhibit 271-1A received.)


  8    Q. BY MR. QUINN: Is this a package with a Cool Skating


  9    Barbie in it?


  10   A. Yes, it is.


  11   Q. And is there a date on this?


  12   A. Yes, on the bottom it has copyright 1999, Mattel, Inc.


  13         MR. QUINN: Very well. Thank you.


  14         THE COURT: Very well. Anything further?


  15         MR. NOLAN: No.


  16         THE COURT: Very well. You are excused.


  17         Counsel, you may call your next witness.


  18         MR. QUINN: Your Honor, Mattel calls Lily Martinez.


  19         THE CLERK: Please raise your right hand.


  20                   LILY MARTINEZ, SWORN.


  21         THE CLERK: Please take the stand.


  22         MR. QUINN: Your Honor, may we approach the witness


  23   stand to give the witness a book of exhibits?


  24         THE CLERK: Please state your full name and spell


  25   your last name for the record.



                                                                   Unsigned   Page 420
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 82 of 111 Page ID
                                  #:112461




  1          THE WITNESS: Liliana Martinez, but I go as Lily.


  2                  DIRECT EXAMINATION


  3    BY MR. QUINN:


  4    Q. Good morning.


  5    A. Good morning.


  6    Q. Ms. Martinez, I take it you and your husband are


  7    expecting?


  8    A. We are.


  9    Q. Congratulations.


  10   A. Numero tres.


  11   Q. Is that counting your husband?


  12   A. That would be four.


  13   Q. What is your current job, please?


  14   A. I work for Mattel, and I'm a senior manager, product


  15   design.


  16   Q. How long have you worked at Mattel?


  17   A. I was a temp for a year and a half. So total, including


  18   that, would be about 10 years.


  19   Q. And we know you are a designer.


  20   A. Yes.


  21   Q. Where were you born?


  22   A. I was born in Mexico.


  23   Q. And when did you come to this country?


  24   A. Like 1980. Because I remember my little sister being


  25   born here. I was three. So 1980. I just dated myself,



                                                                    Unsigned   Page 421
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 83 of 111 Page ID
                                  #:112462




  1    didn't I? Okay.


  2    Q. Have you always been interested in drawing?


  3    A. I have.


  4    Q. Since you were a little girl?


  5    A. Since I was very little. Since I can remember to eat.


  6    Q. Have you always been interested in dolls and making


  7    clothes for dolls?


  8    A. Oh, yes.


  9    Q. Can you remember doing that as a little girl?


  10   A. Yes. I actually -- I've always drawn girls or dolls, as


  11   my brother would say. But I remember doing fashions for my


  12   Barbie when I was about like eight or nine. I was actually


  13   in Mexico. And I would do them out of leftover socks,


  14   especially ones that had ruffles. My dad's a tailor. So we


  15   always had like needle and thread readily available. And I


  16   would stick, you know, do my little thing and show them to


  17   everybody, look, mom, look what I did. But it was --


  18         THE COURT: Ma'am, slow down a little bit.


  19         THE WITNESS: Sorry. I just get so excited. So


  20   yes, I've always...


  21   Q. BY MR. QUINN: Where did you go to high school?


  22   A. Granada Hills, Kennedy High.


  23   Q. What year did you graduate?


  24   A. I graduated '95.


  25   Q. And after that, did you have any kind of training in



                                                                    Unsigned   Page 422
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 84 of 111 Page ID
                                  #:112463




  1    arts or design?


  2    A. Yes. I actually entered design school, the Fashion


  3    Institute of Design right after high school, like two weeks


  4    after in L.A.


  5    Q. So you graduated like this time of year, and within two


  6    weeks you were in design school?


  7    A. Yeah, so I didn't really have a summer after my senior


  8    year. But that was okay.


  9    Q. What was the art school or design school that you went


  10   to?


  11   A. Fashion Institute of Design and Merchandising.


  12   Q. Where is that located?


  13   A. In downtown L.A.


  14   Q. How did you choose that design school to go to?


  15   A. Some recruiters actually came to one of my classrooms


  16   when I was still at my senior year to talk about how to


  17   present yourself when you're going for a job interview. And


  18   she gave out cards about the school and I was like oh,


  19   information. I like fashion. Hm, I draw. All right.


  20   Let's -- let's meet with them and see what they have to say.


  21   And I met with the coordinator, the advisor at the school,


  22   and I was really, really interested.


  23   Q. And how long did you attend that school?


  24   A. A total of three years.


  25   Q. How did you come to work at Mattel?



                                                                     Unsigned   Page 423
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 85 of 111 Page ID
                                  #:112464




  1    A. I -- on my third year, well, actually it's a two-year


  2    program, and then at the third year, it's optional. So when


  3    I was doing my third year, which is to do a fashion show that


  4    third year, some designers from Mattel came and gave a


  5    presentation to my class. And one of my classmates was like


  6    Lily, have you got an interview? Your style is, I think,


  7    like Barbie-esque.


  8           So I'm like no, I don't even drive. I don't know


  9    where this place is at. I'm like no, no. And when they were


  10   done with their presentation, my friend had taken out my


  11   sketch book and shown it to them. She took it out of my tote


  12   bag.


  13   Q. Without your knowing?


  14   A. No, without me knowing, and I'm going that looks like my


  15   sketch book that they are looking at. And sure enough, they


  16   were interested in talking to me. And a couple days later,


  17   I -- they hired me, and I was still in school. I was about


  18   to show my fashion show. So it happened really fast. And it


  19   was so exciting that -- because I loved Barbie. So I was so


  20   like oh, my God, I have a job. And everybody was still


  21   looking for a job, and I had a job while still in school. So


  22   it was really awesome.


  23   Q. You made reference to a fashion show you were working


  24   on. What was that?


  25   A. That was the whole -- the year is divided in quarters.



                                                                      Unsigned   Page 424
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 86 of 111 Page ID
                                  #:112465




  1    So basically we are to develop a fashion show of -- a


  2    collection of, I think, eight designs. And yeah, and then at


  3    the end, there's like this big elaborate fashion show with


  4    lights, music, models, very fabulous.


  5    Q. Is this something that all the students do, or do you


  6    have to be selected to participate in that program?


  7    A. No, you have to be selected. There's requirements. You


  8    definitely have to have finished your program, your two-year


  9    program at the school, and submit a portfolio, references,


  10   grades, recommendations, and then actually if you -- after


  11   doing that, you might get called for an interview. So it's a


  12   handful of people, only like 10 people get to do it.


  13   Q. And did you get some type of scholarship along with


  14   that?


  15   A. I did. I got a full scholarship. So it was a "yea" for


  16   my parents.


  17   Q. All right. So when you started at Mattel, what was the


  18   first position that you had?


  19   A. I got hired as an assistant designer.


  20   Q. And do you recall what you were paid in your first


  21   position?


  22   A. I think I was paid $15 an hour.


  23   Q. And who was your manager at the time when you first


  24   started?


  25   A. I think at the time her name was Debbie Meyer.



                                                                      Unsigned   Page 425
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 87 of 111 Page ID
                                  #:112466




  1    Q. And what month are we talking about here?


  2    A. I remember exactly because I -- my first day at work as


  3    April 1st, which is April Fool's Day. So April 1st, 1998.


  4    Q. Did that first position at Mattel -- you said assistant


  5    designer?


  6    A. Yes.


  7    Q. And then at some point after that, did your position


  8    change?


  9    A. Yes.


  10   Q. What was the next position you had?


  11   A. I became a designer.


  12   Q. Was that like a promotion?


  13   A. I believe so, yes.


  14   Q. Can you tell us what your job duties were, perhaps first


  15   as an assistant designer and then what you were doing as a


  16   designer?


  17   A. As an assistant I was brought in. Obviously, they liked


  18   my style of drawings. So I did a lot of drawing sketches


  19   for, you know, I think she was a project designer at the time


  20   that was on my team. And I did work orders. Go to the


  21   different departments in the design center, like hair


  22   department, face, and talk to them. Pretty much worked with


  23   the designer and the manager as to what they needed.


  24   Sometimes I would tidy up the area if I wasn't too busy. But


  25   yeah, anything they wanted me to do, I would do.



                                                                    Unsigned   Page 426
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 88 of 111 Page ID
                                  #:112467




  1    Q. And as a designer, did your job duties change from


  2    assistant designer?


  3    A. Yes, eventually I got more responsibility. So I got to


  4    work on -- because as an assistant, I would assist on


  5    projects, and as a designer, I got to actually do my own


  6    projects.


  7    Q. Did you become a salaried employee when you became a


  8    designer?


  9    A. Yes.


  10   Q. And do you recall what your salary was when you became a


  11   salaried employee?


  12   A. I don't. I don't recall.


  13   Q. Did your position change again at some point after that?


  14   A. Yes.


  15   Q. And what was the next position you held?


  16   A. I think I became a senior designer.


  17   Q. And when was that approximately?


  18   A. I don't recall.


  19   Q. Is that the position that you hold now?


  20   A. No.


  21   Q. All right. And so your job changed again?


  22   A. Yes.


  23   Q. And what was the next position that you held?


  24   A. I think I became then a project designer.


  25   Q. And were each of these in effect promotions?



                                                                   Unsigned   Page 427
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 89 of 111 Page ID
                                  #:112468




  1    A. Yes.


  2    Q. Do you recall what your salary was when you became a


  3    senior designer?


  4    A. I don't.


  5    Q. Do you mind if I ask what your salary is now?


  6    A. No.


  7    Q. Would you tell us, please?


  8    A. I think it's $125,000 a year.


  9    Q. While at Mattel -- what are your duties in your present


  10   position?


  11   A. Right now I lead a team of designers and sample makers.


  12   Q. Can you tell us a little bit about who these folks are,


  13   what their talents and backgrounds are on your team?


  14   A. Sure. There's a handful of designers, and each one as a


  15   different skill level and strength, and I lead them in design


  16   ideas, visions, strategies, actually along with another


  17   senior manager. Two senior managers in our team that we


  18   lead. And I give guidance as to direction of where they are


  19   headed with the concept. I approve things and -- yeah.


  20   Q. And what is it that you are working on? Are these new


  21   concepts or new ideas for toys? What is it?


  22   A. I work on older girl products, and yes, it's new ideas,


  23   new concepts, and I work on the My Scene brand.


  24   Q. Can you tell us roughly how many different toy projects


  25   you've worked on at Mattel?



                                                                       Unsigned   Page 428
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 90 of 111 Page ID
                                  #:112469




  1    A. Wow. 10 years, it's a lot. Especially because


  2    depending on ones that have actually been produced to the


  3    ones we've actually done, I can't even put a number. It's a


  4    lot.


  5    Q. Would it be fair to say that there are dozens of


  6    different toy projects and ideas that you have worked on?


  7    A. I would say hundreds. It's a lot of projects. Yeah.


  8    Q. Have you worked on both Barbie and non-Barbie products?


  9    A. Yes.


  10   Q. Have you worked on the aesthetics for dolls in the


  11   Barbie category?


  12   A. Yes, I have.


  13   Q. And also for dolls outside of Barbie?


  14   A. Yes.


  15   Q. You did some work on a doll project called Toon Teens?


  16   A. Yes.


  17   Q. What was Toon Teens?


  18   A. Toon Teens was, I call it my baby project because it


  19   was, I think, one of the first big projects that I was, you


  20   know, assigned to, you know, on my own. I wasn't really


  21   assisting anybody with it. So Toon Teens was a project that


  22   I worked on based on a decal that my manager really, really


  23   liked.


  24   Q. And what was your role in the Toon Teens project?


  25   A. I was taking lead on that concept.



                                                                     Unsigned   Page 429
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 91 of 111 Page ID
                                  #:112470




  1    Q. And was it based on something that you created?


  2    A. Yes. On a decal I had done for a concept called Cool


  3    Skating Barbie.


  4    Q. And can you recall when it was that you were asked to do


  5    that decal for the Cool Skating Barbie?


  6    A. I don't remember. I know that the package said it was


  7    1999, and usually that's like when it's coming out. So


  8    usually I would say it was roughly a year before that. So it


  9    could have been late 1998, early '99. I don't remember.


  10   Q. And in terms -- you told us that you started work at


  11   Mattel in April of 1998. Can you tell us whether or not you


  12   were asked to come up with that decal figure shortly after


  13   you had started at Mattel? Was it close in time, in other


  14   words?


  15   A. I don't remember. It could have been a few months.


  16   Q. Does it seem to you that it was sometime in mid-1998?


  17   A. Excuse me?


  18   Q. Does it seem to you that it was sometime in mid-1998


  19   that you began work on that decal?


  20   A. It's possible. But I'm not sure.


  21   Q. And how did you -- how did you first get this assignment


  22   to work on the Cool Skating Barbie decal?


  23   A. Well, it was like any -- I was just -- it was like any


  24   other project that I was just helping the project designer,


  25   assist her in various aspects of any -- I could be working on



                                                                     Unsigned   Page 430
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 92 of 111 Page ID
                                  #:112471




  1    assisting on numerous projects at the same time. So that


  2    could have been just like, hey, we need a decal. We're


  3    thinking something cool, funky. See what you can come up


  4    with. And then I would just go from there.


  5    Q. Is that something you then did? You were asked to come


  6    up with something, did you say funky?


  7    A. Yeah, they wanted to go, you know, it was cool skating.


  8    So something cool.


  9    Q. And as a result of that, what did do you?


  10   A. I remember doing a couple of drawings, and I remember


  11   showing them to my manager. And she picked the one that I


  12   then further developed.


  13   Q. All right. Let's put on the screen 257-1, which is


  14   already in evidence. This is the Cool Skating Barbie that


  15   you referred to?


  16   A. Yes.


  17   Q. And if you could just quickly look at the pages behind


  18   that tab, which are not yet in evidence. They are 257-2


  19   through 257-9. And I'd ask you if you can identify those


  20   other pages.


  21   A. Yes.


  22   Q. What are they?


  23   A. They are close-ups of the packaging.


  24         MR. QUINN: I'd offer those in evidence, your


  25   Honor.



                                                                   Unsigned   Page 431
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 93 of 111 Page ID
                                  #:112472




  1          MR. NOLAN: No objection.


  2          THE COURT: Admitted. You may publish.


  3          (Exhibits 257-2 through 257-9 received.)


  4    Q. BY MR. QUINN: If we would maybe kind of quickly go


  5    through those so the jury can see what we're referring to


  6    here. Were there other Cool Skating Barbie dolls as well?


  7    A. Yes. Barbie has friends.


  8    Q. Do you remember their friends names?


  9    A. Teresa and Christie.


  10   Q. If we could look at Exhibit 258-1 in evidence, your


  11   Honor. And that's Teresa?


  12   A. Yes.


  13   Q. And if we could look at the other pages behind the tab


  14   which are not yet in evidence. 258-2 through 258-9. And my


  15   question to you will be whether those are copies of the


  16   packaging for the Teresa Cool Skating Barbie.


  17   A. Yes.


  18         MR. QUINN: I offer that in evidence, your Honor.


  19         MR. NOLAN: No objection, your Honor.


  20         THE COURT: Admitted. You may publish.


  21         (Exhibits 258-2 through 258-9 received.)


  22   Q. BY MR. QUINN: And if we could quickly go through those


  23   as well. And while we're doing that, if you could turn,


  24   please, to Exhibit 259. And 259-1 is already in evidence.


  25   If we could put that up on the screen. And could you



                                                                   Unsigned   Page 432
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 94 of 111 Page ID
                                  #:112473




  1    identify Exhibit 259 for us?


  2    A. Yes.


  3    Q. That's Christie?


  4    A. Yes, correct.


  5    Q. And each of these have a version of your decal?


  6    A. They do.


  7    Q. And if you'd look at the remaining pages behind


  8    Exhibit 259-1. That is, 259-2 through -8. And I'd ask you


  9    if those are copies of the images of Christie, the third Cool


  10   Skating Barbie.


  11   A. Yes.


  12         MR. QUINN: I'd offer those in evidence, your


  13   Honor.


  14         MR. NOLAN: No objection.


  15         THE COURT: Admitted. You may publish.


  16         (Exhibits 259-2 through 259-8 received.)


  17   Q. BY MR. QUINN: You indicated that, when you were given


  18   this assignment, you began to do some drawing.


  19   A. Yes.


  20   Q. Would you look, please, at Exhibit 260?


  21   A. Yes.


  22   Q. And I would ask you if you can identify -- there's


  23   several pages behind 260. 260-1 through 260-6. Let's stop


  24   at 260-6. And I'd ask you if you can identify those pages.


  25   A. Yes.



                                                                    Unsigned   Page 433
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 95 of 111 Page ID
                                  #:112474




  1    Q. And what are they?


  2    A. They are some of my drawings for the decal.


  3            MR. QUINN: I'd offer in evidence 260-1 through


  4    260-6.


  5            MR. NOLAN: No objection.


  6            MR. QUINN: And if we could --


  7            THE COURT: They are admitted. You may publish.


  8            (Exhibits 260-2 through 260-6 received.)


  9    Q. BY MR. QUINN: If we could publish, and could you tell


  10   us what that is?


  11   A. Yes, that's the original one for Barbie, the decal for


  12   her Cool Skating Barbie.


  13   Q. All right. And if we could look at the next -- is that


  14   the first thing that you came up with, or did you have to do


  15   some experimenting and drawing before you could come up with


  16   that?


  17   A. Yeah, usually -- I mean -- this is on the other page.


  18   Q. Turn to the next page.


  19   A. Yeah.


  20   Q. If we could look at 260-2.


  21   A. On the two top ones, I remember showing them to my


  22   manager, and she picked the one with the -- the more stylized


  23   versus the more Barbie-esque one. But I remember doing --


  24   like I have to play with the lines and see how it's going to


  25   really go. It depends on the approach and the project.



                                                                      Unsigned   Page 434
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 96 of 111 Page ID
                                  #:112475




  1    Q. You did both of these drawings that are depicted?


  2    A. Yes.


  3    Q. But the girl on the left looks like she's pretty good on


  4    skates.


  5    A. Yes.


  6    Q. Whereas the other one has her hands out like this.


  7    A. Yeah, she's a little bit like a balancing, kind of like


  8    "I'm not sure."


  9    Q. You know, now, the image on the left, that is what --


  10   that's the final form of the -- of what you arrived at for


  11   the decal?


  12   A. Yes.


  13   Q. And before you got to that point, did you do some


  14   playing around to come up with the drawing?


  15   A. I do. I have to play with the lines and see where they


  16   take me.


  17   Q. Play with the lines and see where they take you?


  18   A. Yeah.


  19   Q. Is that a process -- I said the left, and I meant the


  20   right. I think you folks knew.


  21   A. Yeah.


  22   Q. Play with the lines and see where they take you. Is


  23   that -- is that a process that you can illustrate for the


  24   jury?


  25   A. Like literally illustrate it? Yes.



                                                                     Unsigned   Page 435
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 97 of 111 Page ID
                                  #:112476




  1    Q. We just happen to have just by coincidence an easel up


  2    there with some paper --


  3    A. I could draw all day if that's what you're asking me.


  4           MR. QUINN: With the Court's permission, your


  5    Honor.


  6           THE COURT: Yes.


  7           MR. QUINN: Could you illustrate for the jury what


  8    this process is, what it means to go with the -- what did you


  9    say, with the line and play with it. Would you mind standing


  10   up? There should be some magic markers there. And let's


  11   begin first with a fanciful figure.


  12   A. You mean like fashion? What do you mean?


  13   Q. Well, not necessarily fashion, but something


  14   imaginative. Go with wherever the line takes you.


  15   A. They just talk to me.


  16   Q. Who is talking to you now?


  17   A. The lines. I just let my mind just start to -- like my


  18   hand move. And since I really focus a lot on fashion, I do a


  19   lot of girls and stuff. So I'm pretty aware of the female


  20   form. So I just like -- I'm very PG; so I have to put shells


  21   on my doll.


  22          And I could just go on and on. And I just pick the


  23   lines that are the strongest, and what I would do is after I


  24   do something really rough like this, I would probably come


  25   back and pick my favorite lines that really tell the



                                                                      Unsigned   Page 436
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 98 of 111 Page ID
                                  #:112477




  1    structure, what I'm really going for. You know, like -- I


  2    could go on.


  3    Q. Are there some of those lines you like better than


  4    others?


  5    A. Yeah.


  6    Q. Which ones do you like and why?


  7    A. Well, I'd probably go back with -- you know, because


  8    it's a bunch of jumble, but to me it's like when I would go


  9    back and redo it, I would just like define it more. So, you


  10   know, there's like a bunch of them. So I would just pick one


  11   and just go. But at least I've create the basic thing that


  12   I'm looking for.


  13   Q. Okay. And would you call this a fashion design here?


  14   A. It's fashionable. But to me right now it's just a basic


  15   mermaid, very traditional. If I were to put clothes on her,


  16   she would definitely be fashion.


  17   Q. Can you do us a more conventional fashion drawing, just


  18   pull the page over and show us a more traditional fashion


  19   doll or fashion drawing?


  20   A. I could go into as much detail. This is like really,


  21   really rough.


  22   Q. How would you flesh out -- if you were to go further


  23   with this, and fleshing out the fashions, how would you do


  24   that?


  25   A. I'd probably put another piece of paper and start



                                                                     Unsigned   Page 437
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 99 of 111 Page ID
                                  #:112478




  1    cleaning it, and I could probably do that a couple of times


  2    until I'm happy with it. But usually I start with the pose,


  3    so she would probably be -- I mean not naked. In the


  4    industry we call it a croqui.


  5    Q. What's a croqui?


  6    A. A croqui is when you would -- what they taught me in


  7    fashion design school, it's like a fashion figure, and it's


  8    defined by they call the nine-head figure.


  9    Q. Could you turn the page and illustrate that for us?


  10   A. Sure. And it would be the basic, like, and then you can


  11   move it around. So you get nine heads, you know, about the


  12   same size. And you start designing your dolls. I know it


  13   doesn't look like much, but that's the basic.


  14         So the first one is the head. The second one is


  15   the torso. This is the neck. Shoulders, waist, crotch,


  16   knees, and ankles. And then your elbows, your wrist, and


  17   your hands. And then this little head is the bust. So I


  18   don't know if you could see it. You can see the long model


  19   type body that is formed by doing the nine heads with the


  20   long legs. So that's like your basic. And they teach you


  21   how to move it around.


  22   Q. Thank you. And if you can go take the seat again.


  23         MR. NOLAN: Your Honor, for the record, can we have


  24   these three illustrations marked?


  25         THE COURT: They should be. Can you identify a



                                                                     Unsigned   Page 438
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 100 of 111 Page ID
                                  #:112479




   1   number, Counsel?


   2          MR. QUINN: Next in order. Maybe if we can do it


   3   at a break, we can get that information. I had the same


   4   thought.


   5          MR. NOLAN: Oh, it wasn't my original?


   6          And, your Honor, we think that they should be


   7   offered. We have no objection to them being offered into


   8   evidence once they are marked.


   9          THE COURT: Very well. We'll do that.


  10          THE WITNESS: Can I go back and date them?


  11   Q. BY MR. QUINN: Thank you. If we could look back at the


  12   Exhibit 260-2, which is on the screen here. You indicated


  13   that that red-headed girl in the upper right hand was one of


  14   the final forms of this decal?


  15   A. Yes.


  16   Q. And then did you -- and if we could go back to the full


  17   page. On the left-hand side, it looks like there's a couple


  18   of them that are just black and white-out lines that look


  19   very similar. The hair is a little bit different and there


  20   may be some other changes. Was there some relation between


  21   the color one, that one in the upper right, if we can go


  22   back, between that one and those two?


  23   A. The two in the middle black and whites?


  24   Q. Yeah, those two black and whites that we just looked at.


  25   A. Yeah, those are two variations. Since my manager



                                                                     Unsigned   Page 439
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 101 of 111 Page ID
                                  #:112480




   1   approved the first one, I needed to do variations for the


   2   friends. So these were two, and I decided on one of them.


   3   And then I proceeded to color it.


   4   Q. All right. And how did you create that one of the black


   5   and whites, the variations?


   6   A. From the original, with the pom-poms on her hair, I put


   7   a paper over it, and as I'm drawing, I'm changing the


   8   clothes, but kept the croqui, or the body, the same.


   9   Q. So the colored one, you traced over to create black and


  10   whites?


  11   A. Yes.


  12   Q. The black and white version?


  13   A. I don't recall if I traced it when it was colored


  14   already or it was in black and white, too.


  15   Q. It might have been either?


  16   A. Yeah.


  17   Q. And your purpose in doing that is what?


  18   A. It's to get the same essence and feel of the original


  19   but with different hair, makeup, and clothes.


  20   Q. That's for one of the other three dolls in the group,


  21   for the decal?


  22   A. Yeah.


  23   Q. If we could look at the next page, please, 263. Can you


  24   tell us what we're looking at there?


  25   A. Yeah, that's the decal for Barbie.



                                                                   Unsigned   Page 440
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 102 of 111 Page ID
                                  #:112481




   1   Q. And the one on the right that's black and white, do you


   2   recall why that one specifically was created?


   3   A. I think that one was created after the visual designer


   4   or development designer had done it graphically. I was


   5   trying to illustrate that it wasn't quite the same.


   6   Q. All right. So who is the visual designer?


   7   A. Visual designer is like when I was doing this, I was a


   8   prelim designer. So I was in charge of preliminary ideas,


   9   concepts. And then after it gets approved, then we get the


  10   visual designer or development designer, whatever it's


  11   called, you can call it either way, to go ahead and then


  12   prepare that for production.


  13   Q. Okay. So is that like a different department?


  14   A. It's not a different department. It's just a different


  15   position. Like it's just another person with that position.


  16   It's like a partner.


  17   Q. And do they -- can you tell us whether they do work on a


  18   computer, or do they use the same tools you do, or do they


  19   work with different things?


  20   A. I believe they mostly work on the computer, but it


  21   doesn't necessarily mean always. For this particular one,


  22   because my drawing was more organic, it had, you know, pencil


  23   marks, like a drawing pencil and marker and stuff. We needed


  24   to get it more, a cleaner look, get it ready for processes


  25   that will be done for the decal. So he has to like simplify



                                                                     Unsigned   Page 441
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 103 of 111 Page ID
                                  #:112482




   1   it a little bit.


   2   Q. The visual designer has to?


   3   A. Like in the computer, with a program.


   4   Q. When you're tracing, as you indicated you did, do the


   5   lines speak to you when you're tracing?


   6   A. Not when it's -- well, when it's already a drawing that


   7   I am going to move forward, whether it's one that I liked or


   8   something that got approved, I -- for this particular


   9   project, I wanted to keep the same pose for all three because


  10   usually what we do is when we do the two friends with Barbie,


  11   she has -- usually they all have the same outfit in different


  12   colors. So I saw no difference to change the pose. Just


  13   keep the same pose, change the colors and the fashions and


  14   the hair. So yeah, I didn't -- I forgot what you asked.


  15   Q. I was asking about tracing.


  16   A. Oh, the tracing.


  17   Q. When you trace, we all saw you draw that with a marker


  18   with a very free-flowing hand. When you're tracing, are you


  19   doing the same thing with a free hand?


  20   A. I am when I'm changing stuff, which is the clothes and


  21   the hair.


  22   Q. But before you do the change, if you're just tracing the


  23   outline.


  24   A. Right, like the only thing that's defined is the body.


  25   So I could retrace that again because say if I did a new



                                                                       Unsigned   Page 442
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 104 of 111 Page ID
                                  #:112483




   1   hairdo, the lines might not be right, and I might retrace


   2   that one again and clean that up. So until I get it right, I


   3   keep doing it.


   4   Q. All right. If you'd look, please, at the next page,


   5   260-4. And we have three images there. The bottom two are


   6   cut off. But they look like they are pretty much the same.


   7   And it says visual design over the top. Can you explain to


   8   us what those are?


   9   A. So this was what visual design had done. So this, I


  10   believe, was done in the computer, and I wasn't satisfied


  11   with it. So that's what that is. And you see the original


  12   next to it. And yeah.


  13   Q. You -- had you given the visual design folks your


  14   initial drawing?


  15   A. Yes.


  16   Q. And they sent something back?


  17   A. Yes.


  18   Q. Which you weren't crazy about?


  19   A. No. I felt they didn't capture the essence of what I


  20   wanted.


  21   Q. And how did you deal with that? There was apparently a


  22   disconnect between you and visual design?


  23         MR. NOLAN: Your Honor, objection. Leading.


  24         THE COURT: Sustained. Rephrase, Counsel.


  25   Q. BY MR. QUINN: How did you respond?



                                                                      Unsigned   Page 443
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 105 of 111 Page ID
                                  #:112484




   1   A. So when he showed it to me, I was like, well, you know,


   2   it's not quite what I'm looking for. And I think I proceeded


   3   to show him my original drawing again and say see how this is


   4   like this and like that? Because I understand he has this


   5   process and the way he has to do it on the computer. I


   6   wasn't as computer savvy as him.


   7         So I was trying to best explain that it can't be


   8   exactly what I had come up with, because like I said, mine


   9   was more organic. So I proceeded to like verbally explain to


  10   him and like look at the curve and see how it's like this, or


  11   this is too pronounced, or X, Y, and Z.


  12   Q. In addition to verbally pointing it out, did you give


  13   him another design?


  14   A. Yeah, I think that that's what that other one that we


  15   had seen before was.


  16   Q. If we could turn to 260-3. Are you referring to one of


  17   these designs?


  18   A. Yes. I think I remember trying to compromise because


  19   this was more -- it was more -- the lines were more defined.


  20   Q. Are you referring to which one of these two?


  21   A. I'm sorry. The black and white one.


  22   Q. On the right side?


  23   A. Yes.


  24   Q. How did this decal that you created relate to the Toon


  25   Teens project?



                                                                       Unsigned   Page 444
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 106 of 111 Page ID
                                  #:112485




   1   A. So you know, we had done this, and I recall my manager


   2   at the time, Debbie, coming over to me and saying hey, I


   3   talked to Ivy, or they were assigned some things to tell the


   4   designers to come up with stuff, and she thought about me and


   5   said hey, why don't you make this into a Flanker doll.


   6   That's what Ivy had said, new ideas, new doll projects that's


   7   not necessarily Barbie, and I said really? She said yeah, I


   8   think this would be really cool as a doll. So I said all


   9   right, I'm game. You know, yeah. So she just left it up to


  10   me and what I wanted to do with it.


  11   Q. And how did you feel? At that point you're at Mattel


  12   roughly how long?


  13   A. I don't know. I mean, maybe a little over a year.


  14   Q. How did you feel about being asked to develop a doll


  15   project based on your decal?


  16   A. I was totally psyched. I think I was still an assistant


  17   designer. So that was huge for me. I was like, you know, a


  18   little girl in a candy shop. I was like okay. I didn't


  19   really know how I was going to do it, but I was going to try.


  20   Q. Could you look, please, at Exhibit 263. And there's a


  21   number of pages 4. 263-1 through -9. And I'll ask you if


  22   you can identify those.


  23   A. Yes. These are my drawings for Toon Teens.


  24          MR. QUINN: We'd offer those, your Honor.


  25          MR. NOLAN: No objection.



                                                                    Unsigned   Page 445
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 107 of 111 Page ID
                                  #:112486




   1           THE COURT: Very well. They are admitted, and you


   2   may publish.


   3           (Exhibits 263-1 through 263-9 received.)


   4   Q. BY MR. QUINN: And if we could walk through those,


   5   please. Why are some of them different? Some of them have


   6   hair and nothing else. Some of them have clothes and are


   7   fully colored in. Could you explain that, please, to the


   8   jury?


   9   A. Yeah, some of them, like these, for example, are a


  10   little more developed because I think I liked them more.


  11   Like the whole thing. So what I would do, I call these my


  12   working sketches because they, if they were fully colored,


  13   that means I was going to go ahead and make copies of this to


  14   give to the various departments for the -- in the design


  15   center. The ones that are not fully colored, like, say, one


  16   of them had just the hair color, I think I was just going to


  17   focus on giving that particular drawing to the hair


  18   department so they can make me a wig.


  19   Q. Okay. If we can continue going through these.


  20   A. And then those things are little swatches of fabric.


  21   Q. What are those little floating blocks of color?


  22   A. Those are little fabric swatches that I would specify to


  23   the pattern maker and sample maker of what I wanted the


  24   outfits to be made out of.


  25   Q. Continuing, you heard Ms. Ross say this yesterday. Did



                                                                      Unsigned   Page 446
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 108 of 111 Page ID
                                  #:112487




   1   anybody ever tell that you they thought the Toon Teens


   2   drawings looked like you?


   3   A. Yes. It's just, you know, because it's a doll, and I


   4   don't think I look like a doll, but it's flattering. Yeah,


   5   in fact, we actually -- the model makers used to tease me


   6   about them and call them the Lily Pads.


   7   Q. Lily Pads?


   8   A. Yeah, like they just called oh, you're working on your


   9   Lily Pads.


  10   Q. Was that kind of a nickname that you had?


  11   A. They used to call me Lily Pad.


  12   Q. And then Exhibit 262. Could you identify these as well?


  13   Are these the same thing?


  14   A. 262?


  15   Q. Yeah. Exhibit 262.


  16   A. I don't think I have 262.


  17   Q. You don't have a 262?


  18   A. I don't think so.


  19   Q. Okay forget about it, then?


  20          MR. NOLAN: We don't have it either.


  21          MR. QUINN: I'm the only one that has it.


  22   Q. All right. So after you had done these drawings and you


  23   were satisfied with the drawings for this Toon Teens project,


  24   what did you do with them?


  25   A. With the drawings?



                                                                    Unsigned   Page 447
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 109 of 111 Page ID
                                  #:112488




   1   Q. Yes.


   2   A. So like I said, I picked some -- picked my favorites,


   3   and I went ahead and used these drawings to give to the


   4   various departments that were going to help me bring these


   5   dolls to life. So I handed them off to -- I had meetings


   6   or -- not meetings. More like I would go to a certain person


   7   in the department and talk to them about it. So hair


   8   department, face department, sculpting, our model makers, our


   9   sample makers, our pattern makers.


  10   Q. Were you proud of these drawings?


  11   A. Yes.


  12   Q. Did you keep copies in your cubicle?


  13   A. I believe so, yes.


  14   Q. Were they sort of displayed at a place, in a way that


  15   people could see them if they were walking by?


  16   A. Our cubes are like, you can pin things on them. Like


  17   the whole wall is like that. So yeah, they were my babies.


  18   They were up.


  19   Q. And did you reach a point where you actually developed


  20   appropriate types of the dolls?


  21   A. Yes.


  22   Q. And where were they kept?


  23   A. In different stages of the process, I would get pieces


  24   of the doll. So I could have a wig on my desk. A head. So


  25   yeah, I would have parts of them, parts of the doll.



                                                                    Unsigned   Page 448
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 110 of 111 Page ID
                                  #:112489




   1   Eventually I got all the parts that I would put it together,


   2   and it would be a prototype.


   3   Q. And were these prototypes, when they were done, were


   4   they ever out where people could see them in the design


   5   center?


   6   A. Yes.


   7   Q. And where was that that they were displayed?


   8   A. They were in our -- in this area that we call -- like


   9   every team has like a working table. Like an open table for


  10   like, you know, to put your projects there. To either work


  11   on or display, or like if we have a meeting, we can show them


  12   there.


  13   Q. Did you know a person named Carter Bryant at Mattel?


  14   A. Yes, I did.


  15   Q. When did you first meet him?


  16   A. I met him -- I don't know the date exactly when I met


  17   him, but I recall being introduced to him by Elise Cloonan.


  18   Q. Who is Elise Cloonan?


  19   A. Elise Cloonan, I think, was a visual designer who worked


  20   with me.


  21            THE COURT: Counsel, you're getting into another


  22   area. I'm going to stop you here. Why don't we take our


  23   lunch break at this time.


  24            Ladies and gentlemen, we're going to take a lunch


  25   break until 1:30. We'll see you back here at 1:30 sharp.



                                                                      Unsigned   Page 449
Case 2:04-cv-09049-DOC-RNB Document 4371-4 Filed 10/20/08 Page 111 of 111 Page ID
                                  #:112490




   1         (WHEREUPON THE JURY WITHDRAWS.)

   2         THE COURT: Counsel, please be seated. I'd like to

   3   see counsel back here at 1:15 to take up the discovery

   4   matter. Are there any other matters that we need to take up

   5   this afternoon from counsel's perspective? Mr. Nolan?

   6         MR. NOLAN: Not for MGA.

   7         THE COURT: Mr. Quinn?

   8         MR. QUINN: No, your Honor.

   9         THE COURT: Very well. I'll see you at 1:15.

  10

  11            (Lunch recess taken at 12:00 P.M.)

  12

  13                CERTIFICATE

  14

  15

  16         I hereby certify that pursuant to Title 28,

  17   Section 753 United States Code, the foregoing is a true and

  18   correct transcript of the stenographically reported

  19   proceedings in the above matter.

  20         Certified on May 28, 2008.

  21

  22

                    ________________________________

  23                MARK SCHWEITZER, CSR, RPR, CRR

                    Official Court Reporter

  24                License No. 10514

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